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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division



                                                       Master File No. 1:21-cv-00269 (MSN/JFA)
       IN RE: GERBER PRODUCTS COMPANY
       HEAVY METALS BABY FOOD                          REPRESENTATIVE CLASS ACTION
       LITIGATION                                      COMPLAINT


   This Document Relates to ALL Cases



          Plaintiffs Deandra Bryant, Christopher Craig, Mayra Verduzco, Renee Bryan, Jennifer

  Gaetan, Vanessa Inoa, Charlotte Willoughby, Angelique Velez, Danielle Visconti, Jessica Moore,

  and Janice Wilson (“Plaintiffs”), on behalf of themselves and all others similarly situated, bring

  this class action suit for monetary relief, including damages and restitution, and declaratory and

  injunctive relief against Defendant Gerber Products Company (“Gerber” or “Defendant”).

  Plaintiffs allege the following based upon personal knowledge as to allegations regarding

  themselves, and as to all other allegations based on the investigation of their counsel and

  information and belief where stated:


  I.      NATURE OF THE ACTION

          1.     Plaintiffs bring this class action on behalf of themselves and all consumers,


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  including parents and caregivers, nationwide who bought Defendant’s baby food products

  containing harmful heavy metals such as arsenic, lead, cadmium, and mercury (“Heavy Metals”).

  The products at issue include, but are not limited to, the following: Gerber Puffs (all flavors);

  Gerber Lil’ Crunchies (all flavors); Gerber Yogurt Melts (all flavors); Gerber 1st Foods (all

  flavors); Gerber 2nd Foods (all flavors); Gerber Cereals (all types); Gerber Juices (all flavors);

  Gerber Arrowroot Biscuits; Gerber Teether Wheels (all flavors); Gerber Yogurt Blends (all

  flavors); Gerber Fruit & Veggie Melts (all types and flavors); Gerber Graduates Mealtime for

  Toddler (all flavors); and Gerber Diced Carrots Veggie Pick-Ups (referred to herein as “Gerber

  Baby Food Product(s)” or “Baby Food Product(s)”).1

         2.      Providing children healthy and appropriate nourishment is critical to their

  development. Numerous scientific studies conducted over the last several decades have confirmed

  that arsenic, lead, cadmium, and mercury are developmental neurotoxins that are harmful to a

  baby’s developing brain and nervous system.

         3.      Babies and children who consume Heavy Metals are at risk of suffering significant

  health problems, including a loss of intellectual capacity and behavioral problems such as

  attention-deficit/hyperactivity disorder (“ADHD”), among other things. Even the consumption of

  small amounts of Heavy Metals over time can increase the risk of bladder, lung and skin cancer,

  and Type 2 Diabetes. Moreover, medical professionals and scientists alike agree that early

  exposure to Heavy Metals can have long-term effects that are irreversible.

         4.      Gerber manufactures, warrants, advertises, and sells its products as being suitable

  and safe for consumption by babies and young children. Each of the Gerber Baby Food Products



  1
   Plaintiffs reserve the right to expand the list of Gerber products specifically identified herein as
  their investigation continues and after they have had an opportunity to conduct discovery.

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  has the famous “Gerber Baby” logo, as well as indications that the products are safe and

  appropriate for babies and young children. For example, the Gerber Puffs package touts that the

  product supports “brain development and learning ability.” Similarly, Gerber’s Rice Cereal

  packaging promotes its inclusion of iron as supporting “learning ability.” Other Baby Food Product

  packages tout that the products are “made with real fruit” or “whole grains.” Gerber’s food

  packaging, when considered as a whole and from the perspective of a reasonable consumer,

  conveyed to parents and other consumers that the Gerber Baby Food Products are safe and suitable

  for consumption by babies and young children.

         5.      But a February 4, 2021 report from the U.S. House of Representatives

  Subcommittee on Economic and Consumer Policy, Committee on Oversight and Reform, titled

  “Baby Foods are Tainted with Dangerous Levels of Arsenic, Lead, Cadmium, and Mercury”

  (“Congressional Report”), revealed that some of the largest baby food manufacturers in an industry

  that generates over $50 billion annually in sales knowingly distributed and sold baby food

  containing harmful Heavy Metals. Gerber was identified as one of the companies knowingly

  selling baby foods with harmful Heavy Metals that are not safe for consumption by babies and

  young children. The Congressional Report criticized Gerber for burying its head in the sand and

  not testing all ingredients and finished products for Heavy Metals, and for rarely testing for

  mercury in its baby foods.

         6.      Gerber knows that its customers trust the quality of its Baby Food Products and that

  these customers expect the products to be free of harmful toxins and contaminants such as Heavy

  Metals. Gerber is also aware that many consumers seek out and buy premium baby foods that

  contain high quality ingredients, free of toxins, contaminants, or chemicals, and that these

  consumers will pay more for baby foods that they believe possess these qualities.



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            7.   Gerber promises on its website that its Baby Food Products “meet the standards of

  the FDA” and that Gerber has “among the strictest standards in the world.”2 And Gerber tells

  parents that every jar of its baby food goes “through over 100 quality checks” with “5 different

  stages of safety and quality checks from farm to spoon.”3 Promoting the appearance of being

  concerned for and protective of the infants and young children that it targets, Gerber comforts

  consumers by touting its “Clean Field Farming™” and “marketing strategy,” while stating that

  “[s]ome soil can have unnaturally high levels of … heavy metals which you don’t want with our

  baby food,” adding, “that’s why we created requirements for growing our fruits and veggies” that

  are among “the strictest in the world,” and that “our agriculture team knows exactly how to grow

  for babies.”4 These promises make it clear that Gerber knows that adequate testing and baby foods

  free of harmful Heavy Metals are important and material to reasonable consumers.

            8.   But contrary to the uniform message Gerber conveyed on its Baby Food Product

  packaging—that the Gerber Baby Food Products were safe and suitable for consumption by babies

  and young children—Gerber did not adequately test, or never tested, for all Heavy Metals in all

  the ingredients it uses and/or its finished products. As a result, Gerber sold Baby Food Products

  that contained or were at material risk of containing harmful Heavy Metals.

            9.   Gerber has known for several years that its Baby Food Products routinely contain,

  or are at a material risk of containing, harmful Heavy Metals. Yet Gerber has failed to implement

  adequate testing to ensure that it does not sell products containing harmful Heavy Metals.



  2
    See Gerber Quality & Safety FAQs, https://www.gerber.com/learning-center/quality-safety-
  faqs (last visited June 1, 2022).
  3
      Id.
  4
   See Gerber Clean Field Farming™: Big Standards for Tiny Tummies,
  https://www.gerber.com/big-standards-for-tiny-tummies (last visited June 1, 2022).
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         10.     As alleged herein, Gerber’s product packaging was false, deceptive, and misleading

  to reasonable consumers because Gerber failed to disclose material facts to parents and other

  consumers who buy the Gerber Baby Food Products to feed babies and young children. Knowing

  that its Gerber Baby Food Products contain or are at material risk of containing harmful Heavy

  Metals, and the adverse impacts that toxic Heavy Metals pose to the health and development of

  children, Gerber breached its duty to consumers by failing to disclose on its packaging any facts

  with respect to Heavy Metals that are material to the reasonable consumer.

         11.     Specifically, Gerber failed to disclose on its packaging that (1) the Gerber Baby

  Food Products contain or were at material risk of containing harmful Heavy Metals; (2) Gerber

  inadequately tested, or never tested, for all Heavy Metals in all the ingredients it uses and/or its

  finished products; and that (3) when Gerber does set internal standards, they allow for the sale of

  Baby Food Products with Heavy Metals in amounts that could cause harm to babies and children

  and at times, the Baby Food Products have failed to meet even those internal standards. Plaintiffs

  and Class members would have sought alternative options and would not have purchased the

  Gerber Baby Food Products had the foregoing material facts been disclosed to them. Plaintiffs and

  Class members did not receive the benefit of their bargain and thus overpaid for the Gerber Baby

  Food Products.

         12.     Plaintiffs bring this action on behalf of themselves and all other similarly situated

  persons (defined below) for common law claims for fraud by omission and unjust enrichment,

  violations of state consumer protection statutes, and for breach of the implied warranty of

  merchantability. Plaintiffs seek all available monetary relief, including actual, statutory, and/or

  punitive damages and restitution, and declaratory and injunctive relief as prayed for below.




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   II.   JURISDICTION AND VENUE

         13.     This Court has subject matter jurisdiction pursuant to the Class Action Fairness

  Act, 28 U.S.C. § 1332(d), because the aggregate amount in controversy exceeds $5 million,

  exclusive of interests and costs; the number of members of the proposed Class exceeds 100; and

  many members of the proposed Class are citizens of different states than the Defendant.

         14.     This Court has personal jurisdiction over Defendant Gerber because Defendant

  regularly sells and markets the Baby Food Products in this District, and Defendant derives

  substantial revenue from such sales in Virginia, with the knowledge that the Baby Food Products

  are marketed and sold for use in this State.

         15.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because Defendant

  transacts substantial business in this District and Defendant is headquartered in Arlington,

  Virginia.

  III.   THE PARTIES

         A.      Plaintiffs

         16.     Deandra Bryant is a resident and citizen of California. Plaintiff Bryant

  has bought Gerber’s Baby Food Products, including but not limited to: Gerber Puffs (Strawberry

  Apple, Banana, Apple Cinnamon, Peach, Organic Apple); Gerber Lil’ Crunchies (Mild Cheddar,

  Veggie Dip, Apple Sweet Potato, Organic White Cheddar Broccoli); Gerber Yogurt Melts

  (Strawberry, Banana Vanilla); Gerber 2nd Foods (Sweet Potato, Carrot); Gerber cereals (Single

  Rice); Gerber’s juices (Apple Prune Juice); Gerber Teether Wheels (Apple Harvest); Gerber Fruit

  & Veggie Melts; Gerber Graduates Mealtime for Toddler (Pasta Pick-Ups Chicken & Carrot

  Ravioli, Mashed Potatoes & Gravy with Roasted Chicken and a Side of Carrot); and Gerber 1st

  Foods (Carrot, Sweet Potato) from Amazon and retail stores, such as Safeway, Target, Walmart,



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  and FoodsCo in San Francisco, California. Plaintiff Bryant purchased these products frequently

  from approximately December 2020 through February 2021. Plaintiff Bryant reviewed and relied

  on the packaging and believed the products to be safe, healthy, and suitable for babies and young

  children.

         17.      If Plaintiff Bryant had known that the Gerber Baby Food Products contain or were

  at material risk of containing harmful Heavy Metals; Gerber inadequately tested, or never tested,

  for all Heavy Metals in all the ingredients it uses and/or its finished products; or that when Gerber

  does set internal standards, they allow for the sale of Baby Food Products with Heavy Metals in

  amounts that could cause harm to babies and children and at times, the Baby Food Products have

  failed to meet even those internal standards, Plaintiff Bryant would not have bought any of the

  Baby Food Products. Plaintiff Bryant did not receive the benefit of the bargain and thus overpaid.

  If Gerber had made these disclosures on the Baby Food Products Plaintiff Bryant would have been

  aware of them. Plaintiff Bryant would be willing to purchase Gerber Baby Food Products in the

  future if she could be certain that they do not contain (or have a material risk of containing) harmful

  Heavy Metals.

         18.      Christopher Craig is a resident and citizen of California. Plaintiff Craig has

  bought Gerber’s Baby Food Products, including Gerber Puffs (Strawberry Apple, Banana,

  Blueberry, Sweet Potato, Apple Cinnamon, Peach, Organic Cranberry Orange, Organic Apple);

  Gerber Yogurt Melts (Strawberry, Very Berry Blend, Truly Tropical Blend, Mixed Berries,

  Organic Banana Strawberry, Organic Red Berries); Gerber 2nd Foods (Banana, Sweet Potato,

  Carrot Pear Blackberry, Carrot Sweet Potato Pea, Chicken Rice Dinner, Turkey Rice Dinner);

  Gerber Teether Wheels (Apple Harvest) from Albertsons, CVS, Rite Aid, Ralph’s, and Von’s in

  Sunland, California. Plaintiff Craig purchased these products frequently from approximately



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  October 2018 through February 2021. Plaintiff Craig reviewed and relied on the packaging and

  believed the products to be safe, healthy, and suitable for babies and young children.

         19.      If Plaintiff Craig had known that the Gerber Baby Food Products contain or were

  at material risk of containing harmful Heavy Metals; Gerber inadequately tested, or never tested,

  for all Heavy Metals in all the ingredients it uses and/or its finished products; or that when Gerber

  does set internal standards, they allow for the sale of Baby Food Products with Heavy Metals in

  amounts that could cause harm to babies and children and at times, the Baby Food Products have

  failed to meet even those internal standards, Plaintiff Craig would not have bought any of the Baby

  Food Products. Plaintiff Craig did not receive the benefit of the bargain and thus overpaid. If

  Gerber had made these disclosures on the Baby Food Products Plaintiff Craig would have been

  aware of them. Plaintiff Craig would be willing to purchase Gerber Baby Food Products in the

  future if he could be certain that they do not contain (or have a material risk of containing) harmful

  Heavy Metals.

         20.      Mayra Verduzco is a resident and citizen of California. Plaintiff Verduzco has

  bought Gerber’s Baby Food Products, including but not limited to: Gerber Puffs (Sweet Potato,

  Banana); Gerber Lil’ Crunchies (Mild Cheddar); and Gerber 2nd Foods from Target in Riverbank,

  California, and once or twice from Walmart in Modesto, California. Plaintiff Verduzco purchased

  these products monthly from approximately August 2019 through October 2019. Plaintiff

  Verduzco reviewed and relied on the packaging and believed the products to be safe, healthy, and

  suitable for babies and young children.

         21.      If Plaintiff Verduzco had known that the Gerber Baby Food Products contain or

  were at material risk of containing harmful Heavy Metals; Gerber inadequately tested, or never

  tested, for all Heavy Metals in all the ingredients it uses and/or its finished products; or that when



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  Gerber does set internal standards, they allow for the sale of Baby Food Products with Heavy

  Metals in amounts that could cause harm to babies and children and at times, the Baby Food

  Products have failed to meet even those internal standards, Plaintiff Verduzco would not have

  bought any of the Baby Food Products. Plaintiff Verduzco did not receive the benefit of the bargain

  and thus overpaid. If Gerber had made these disclosures on the Baby Food Products Plaintiff

  Verduzco would have been aware of them. Plaintiff Verduzco would be willing to purchase Gerber

  Baby Food Products in the future if she could be certain that they do not contain (or have a material

  risk of containing) harmful Heavy Metals.

         22.       Renee Bryan is a resident and citizen of Florida. Plaintiff Bryan has bought

  Gerber’s Baby Food Products, including Gerber Puffs and Gerber 1st Foods from retail stores,

  such as Publix and Target in Port St. Lucie, Florida and Palm Bay, Florida. Plaintiff Bryan

  purchased these products frequently in or around October/November 2020. Plaintiff Bryan

  reviewed and relied on the packaging and believed the products to be safe, healthy, and suitable

  for babies and young children.

         23.       If Plaintiff Bryan had known that the Gerber Baby Food Products contain or were

  at material risk of containing harmful Heavy Metals; Gerber inadequately tested, or never tested,

  for all Heavy Metals in all the ingredients it uses and/or its finished products; or that when Gerber

  does set internal standards, they allow for the sale of Baby Food Products with Heavy Metals in

  amounts that could cause harm to babies and children and at times, the Baby Food Products have

  failed to meet even those internal standards, Plaintiff Bryant would not have bought any of the

  Baby Food Products. Plaintiff Bryan did not receive the benefit of the bargain and thus overpaid.

  If Gerber had made these disclosures on the Baby Food Products Plaintiff Bryan would have been

  aware of them.



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         24.      Jennifer Gaetan is a resident and citizen of Florida. Plaintiff Gaetan has bought

  Gerber’s Baby Food Products, including but not limited to: Gerber Puffs (flavors include but not

  limited to: Banana, Sweet Potato, Apple); Gerber Lil’ Crunchies (flavors include but not limited

  to: Organic White Cheddar Broccoli); Gerber Yogurt Melts (Mixed Berry); Gerber 2 nd Foods

  (flavors include but not limited to: Green Bean, Banana, Sweet Potato); Gerber cereals; Gerber

  Yogurt Blends (flavors include but not limited to: Strawberry); Gerber Graduates Mealtime for

  Toddler; and Gerber 1st Foods from Publix and Target in Miami, Florida, and online through

  Amazon and Instacart. Plaintiff Gaetan purchased these products frequently from approximately

  August 2019 through September 2020. Plaintiff Gaetan reviewed and relied on the packaging and

  believed the products to be safe, healthy, and suitable for babies and young children.

         25.      If Plaintiff Gaetan had known that the Gerber Baby Food Products contain or were

  at material risk of containing harmful Heavy Metals; Gerber inadequately tested, or never tested,

  for all Heavy Metals in all the ingredients it uses and/or its finished products; or that when Gerber

  does set internal standards, they allow for the sale of Baby Food Products with Heavy Metals in

  amounts that could cause harm to babies and children and at times, the Baby Food Products have

  failed to meet even those internal standards, Plaintiff Gaetan would not have bought any of the

  Baby Food Products. Plaintiff Gaetan did not receive the benefit of the bargain and thus overpaid.

  If Gerber had made these disclosures on the Baby Food Products Plaintiff Gaetan would have been

  aware of them. Plaintiff Gaetan would be willing to purchase Gerber Baby Food Products in the

  future if she could be certain that they do not contain (or have a material risk of containing) harmful

  Heavy Metals.

         26.      Vanessa Inoa is a resident and citizen of Florida. Plaintiff Inoa has bought Gerber’s

  Baby Food Products, including but not limited to: Gerber Puffs (Banana, Blueberry); Gerber Lil’



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  Crunchies (Garden Tomato, Mild Cheddar); Gerber 2nd Foods (flavors include but not limited to:

  Banana, Sweet Potato, Carrot, Apple, Butternut Squash, Green Bean); Gerber cereals (Single Grain

  Rice, Oatmeal Single Grain); Gerber Arrowroot Biscuits; Gerber Teether Wheels; and Gerber 1st

  Foods (flavors include but not limited to: Carrot, Sweet Potato) from Publix, Target, and Walmart

  in Kissimmee, Florida. Plaintiff Inoa purchased Gerber Arrowroot Biscuits and Gerber Teether

  Wheels only once in around April 2020; purchased Gerber Puffs and Gerber Lil’ Crunchies

  frequently from approximately April 2020 through February 2021; purchased Gerber 2nd Foods

  and Gerber 1st Foods frequently from approximately September 2019 through February 2021; and

  purchased Gerber cereals frequently from approximately August 2019 through February 2021.

  Plaintiff Inoa reviewed and relied on the packaging and believed the products to be safe, healthy,

  and suitable for babies and young children.

          27.    If Plaintiff Inoa had known that the Gerber Baby Food Products contain or were at

  material risk of containing harmful Heavy Metals; Gerber inadequately tested, or never tested, for

  all Heavy Metals in all the ingredients it uses and/or its finished products; or that when Gerber

  does set internal standards, they allow for the sale of Baby Food Products with Heavy Metals in

  amounts that could cause harm to babies and children and at times, the Baby Food Products have

  failed to meet even those internal standards, Plaintiff Inoa would not have bought any of the Baby

  Food Products. Plaintiff Inoa did not receive the benefit of the bargain and thus overpaid. If Gerber

  had made these disclosures on the Baby Food Products Plaintiff Inoa would have been aware of

  them.

          28.    Charlotte Willoughby is a resident and citizen of Illinois. Plaintiff Willoughby has

  bought Gerber’s Baby Food Products, including but not limited to: Gerber cereals (flavors include

  but are not limited to: Rice, MultiGrain, Whole Wheat); Gerber 1st Foods (flavors include but are



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  not limited to: Sweet Potato, Carrot); Gerber 2nd Foods (flavors include but are not limited to:

  Banana, Sweet Potato, Apple, Butternut Squash, Green Beans, Carrot, Peach, Carrot Sweet Potato

  Pea, Chicken Rice Dinner, Turkey Rice Dinner); Gerber Lil’ Crunchies (Mild Cheddar, Veggie

  Dip, Garden Tomato, Apple Sweet Potato, Ranch, Vanilla Maple); Gerber Puffs (flavors include

  but are not limited to: Strawberry Apple, Banana, Blueberry, Sweet Potato); Gerber Yogurt Melts

  (flavors include but are not limited to: Strawberry, Mixed Berries, Banana Vanilla, Peach); Gerber

  Fruit & Veggie Melts (flavors include but are not limited to: Truly Tropical Blend); Gerber

  Arrowroot Biscuits; Gerber Teether Wheels (flavors include but are not limited to: Apple Harvest);

  and Gerber Yogurt Blends (flavors include but are not limited to: Strawberry) from Target,

  Walmart, and Jewel Osco in Palatine, Illinois; Crown Point, Indiana; Whiting, Indiana; Hammond,

  Indiana; Merrillville, Indiana; from Meijer's in Rolling Meadows, Illinois; and from Strack & Van

  Til in Indiana. Plaintiff Willoughby purchased these products frequently from approximately July

  2019 through December 2020. Plaintiff Willoughby reviewed and relied on the packaging and

  believed the products to be safe, healthy, and suitable for babies and young children.

         29.     If Plaintiff Willoughby had known that the Gerber Baby Food Products contain or

  were at material risk of containing harmful Heavy Metals; Gerber inadequately tested, or never

  tested, for all Heavy Metals in all the ingredients it uses and/or its finished products; or that when

  Gerber does set internal standards, they allow for the sale of Baby Food Products with Heavy

  Metals in amounts that could cause harm to babies and children and at times, the Baby Food

  Products have failed to meet even those internal standards, Plaintiff Willoughby would not have

  bought any of the Baby Food Products. Plaintiff Willoughby did not receive the benefit of the

  bargain and thus overpaid. If Gerber had made these disclosures on the Baby Food Products

  Plaintiff Willoughby would have been aware of them. Plaintiff Willoughby would be willing to



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  purchase Gerber Baby Food Products in the future if she could be certain that they do not contain

  (or have a material risk of containing) harmful Heavy Metals.

         30.       Angelique Velez is a resident and citizen of New York. Plaintiff Velez has bought

  Gerber’s Baby Food Products, including but not limited to: Gerber 1st Foods (Carrot, Sweet

  Potato); Gerber Arrowroot Biscuits; Gerber Yogurt Melts (Truly Tropical Blend, Organic Banana

  Strawberry); and Gerber Lil’ Crunchies (Mild Cheddar, Garden Tomato, Apple Sweet Potato,

  Vanilla Maple) from Fort Hamilton Commissary in Brooklyn, New York and Market Fresh

  Supermarket in Staten Island, New York. Plaintiff Velez purchased these products frequently from

  approximately August 2020 through early February 2021. Plaintiff Velez reviewed and relied on

  the packaging and believed the products to be safe, healthy, and suitable for babies and young

  children.

         31.       If Plaintiff Velez had known that the Gerber Baby Food Products contain or were

  at material risk of containing harmful Heavy Metals; Gerber inadequately tested, or never tested,

  for all Heavy Metals in all the ingredients it uses and/or its finished products; or that when Gerber

  does set internal standards, they allow for the sale of Baby Food Products with Heavy Metals in

  amounts that could cause harm to babies and children and at times, the Baby Food Products have

  failed to meet even those internal standards, Plaintiff Velez would not have bought any of the Baby

  Food Products. Plaintiff Velez did not receive the benefit of the bargain and thus overpaid. If

  Gerber had made these disclosures on the Baby Food Products, Plaintiff Velez would have been

  aware of them.

         32.       Danielle Visconti is a resident and citizen of New York. Plaintiff Visconti has

  bought Gerber Baby Food Products, including but not limited to: Gerber 1st Foods (Carrot, Sweet

  Potato); Gerber Graduates Mealtime for Toddler; Gerber Fruit & Veggie Melts; Gerber Yogurt



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  Blends; Gerber Teething Wheels; Gerber Cereals (Oatmeal, Single Rice); Gerber Lil' Crunchies

  (Cheddar); Gerber Puffs (Strawberry); Gerber Natural 2nd Foods (Sweet Potato); Gerber Mealtime

  Pick Ups (Chicken & Carrot Ravioli); and Gerber Apple Juice from DeCicco & Sons, Stop &

  Shop, BuyBuyBaby, and Instacart in Westchester County, New York. Plaintiff Visconti purchased

  these products frequently during 2020. Plaintiff Visconti reviewed and relied on the packaging and

  believed the products to be safe, healthy, and suitable for babies and young children.

         33.     If Plaintiff Visconti had known that the Gerber Baby Food Products contain or were

  at material risk of containing harmful Heavy Metals; Gerber inadequately tested, or never tested,

  for all Heavy Metals in all the ingredients it uses and/or its finished products; or that when Gerber

  does set internal standards, they allow for the sale of Baby Food Products with Heavy Metals in

  amounts that could cause harm to babies and children and at times, the Baby Food Products have

  failed to meet even those internal standards, Plaintiff Visconti would not have bought any of the

  Baby Food Products. Plaintiff Visconti did not receive the benefit of the bargain and thus overpaid.

  If Gerber had made these disclosures on the Baby Food Products, Plaintiff Visconti would have

  been aware of them. Plaintiff Visconti would be willing to purchase Gerber Baby Food Products

  in the future if she could be certain that they do not contain (or have a material risk of containing)

  harmful Heavy Metals.

         34.     Jessica Moore is a resident and citizen of Texas. Plaintiff Moore has bought

  Gerber’s Baby Food Products, including Gerber Puffs; Gerber Lil’ Crunchies; Gerber Yogurt

  Melts; and Gerber Cereals (Oatmeal, Rice) from Kroger, Target, Walmart, and H-E-B in Houston,

  Texas. Plaintiff Moore purchased these products frequently in or about 2020. Plaintiff Moore

  reviewed and relied on the packaging and believed the products to be safe, healthy, and suitable

  for babies and young children.



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         35.      If Plaintiff Moore had known that the Gerber Baby Food Products contain or were

  at material risk of containing harmful Heavy Metals; Gerber inadequately tested, or never tested,

  for all Heavy Metals in all the ingredients it uses and/or its finished products; or that when Gerber

  does set internal standards, they allow for the sale of Baby Food Products with Heavy Metals in

  amounts that could cause harm to babies and children and at times, the Baby Food Products have

  failed to meet even those internal standards, Plaintiff Moore would not have bought any of the

  Baby Food Products. Plaintiff Moore did not receive the benefit of the bargain and thus overpaid.

  If Gerber had made these disclosures on the Baby Food Products Plaintiff Moore would have been

  aware of them. Plaintiff Moore would be willing to purchase Gerber Baby Food Products in the

  future if she could be certain that they do not contain (or have a material risk of containing) harmful

  Heavy Metals.

         36.      Janice Wilson is a resident and citizen of Texas. Plaintiff Wilson has bought

  Gerber’s Baby Food Products, including but not limited to, Gerber Puffs (Sweet Potato, Organic

  Fig Berry); Gerber Lil’ Crunchies (Vanilla Maple, Apple Sweet Potato); Gerber Yogurt Melts

  (Very Berry Blend); Gerber 2nd Foods (Carrots, Green Bean, Sweet Potato, Peach, Apple); Gerber

  Cereals; Gerber Yogurt Blends; Gerber Fruit & Veggie Melts in Houston, Texas. Plaintiff Wilson

  purchased these products at HEB, Kroger, Brookshire Brothers, and Walmart in Houston, Texas

  and Richwood, Texas. Plaintiff Wilson purchased Gerber Puffs and Gerber Yogurt Melts

  frequently from approximately June 2020 through February 2021; purchased Gerber 2nd Foods

  and Gerber cereals frequently from approximately February 2020 through January 2021;

  purchased Gerber Yogurt Blends frequently from approximately May 2020 through February

  2021; purchased Gerber Fruit & Veggie Melts frequently from approximately July 2020 through

  February 2021; and purchased Gerber Lil’ Crunchies frequently from approximately August 2020



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  through February 2021. Plaintiff Wilson reviewed and relied on the packaging and believed the

  products to be safe, healthy, and suitable for babies and young children.

         37.     If Plaintiff Wilson had known that the Gerber Baby Food Products contain or were

  at material risk of containing harmful Heavy Metals; Gerber inadequately tested, or never tested,

  for all Heavy Metals in all the ingredients it uses and/or its finished products; or that when Gerber

  does set internal standards, they allow for the sale of Baby Food Products with Heavy Metals in

  amounts that could cause harm to babies and children and at times, the Baby Food Products have

  failed to meet even those internal standards, Plaintiff Wilson would not have bought any of the

  Baby Food Products. Plaintiff Wilson did not receive the benefit of the bargain and thus overpaid.

  If Gerber had made these disclosures on the Baby Food Products, Plaintiff Wilson would have

  been aware of them.

         B.      Defendant

         38.     Defendant Gerber Products Company is a citizen of Michigan, where it is

  incorporated, and Virginia because it maintains its principal place of business at 1812 N. Moore

  St., Arlington, Virginia 22209. Defendant’s Baby Food Products are sold throughout the United

  States at large in brick-and-mortar stores and online retailers.


   IV.   FACTUAL ALLEGATIONS

         A.      Gerber is the Leading Manufacturer of Baby Food Products in the U.S.

         39.     Gerber is an American manufacturer of baby food products. Gerber claims to be

  one of the “world’s most trusted name[s] in baby food.”5




  5
   See Nestle Brands, https://www.nestle.com/brands/baby-foods/gerber. (last visited June 1,
  2022).


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           40.     Gerber markets, advertises, promotes, and sells its Baby Food Products in all 50

  states. Gerber claims its mission is to “give babies the best start in life.”6

           41.     Gerber controls a significant share of the United States market. In 2018, the U.S.

  baby food market was valued at $12.9 billion in 2018 and is projected to grow to $17.2 billion by

  2026 according to Allied Market Research.

           B.      Heavy Metals are Detrimental to Children’s Health and Development

           42.     Arsenic, lead, cadmium, and mercury are toxic heavy metals. The U.S. Food and

  Drug Administration (“FDA”) and the World Health Administration (“WHO”) have declared

  arsenic, lead, cadmium, and mercury to be dangerous to human health, especially to babies and

  children.7

           43.     According to the Congressional Report, “Children’s exposure to toxic heavy metals

  causes permanent decreases in IQ, diminished future economic productivity, and increased risk of

  future criminal and antisocial behavior.” The Congressional Report highlights numerous studies

  conducted over the last several decades analyzing the effects of early exposure to heavy metals

  and concluding that the harm is long-standing and irreversible.

           44.     Babies and young children are particularly vulnerable to the effects from exposure

  to heavy metals because they are small, and their organs are developing. Specifically, exposure to

  heavy metals during childhood can lead to “untreatable and frequently permanent brain damage,

  which may result in reduced intelligence, as expressed in terms of lost IQ points, or disruption in



  6
      See Gerber About Us, https://www.gerber.com/about-us (last visited June 1, 2022).
  7
    U.S. House of Representatives Subcommittee on Economic and Consumer Policy, Committee
  on Oversight and Reform, Baby Foods are Tainted with Dangerous Levels of Arsenic, Lead,
  Cadmium, and Mercury (Feb. 4, 2021) (“Congressional Report”)
  (https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2021-02-
  04%20ECP%20Baby%20Food%20Staff%20Report.pdf (last visited June 2, 2022), at page 2.
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  behavior.”8 Tom Neltner, chemical policy director for the Environmental Defense Fund (“EDF”)

  which has studied lead in food for 25 years, states that “[e]xposure to these toxic heavy metals

  affects babies’ brain development and nervous system, it affects their behavior, permanently

  decreases IQ, and, if you want to boil it down to dollars, their lifetime earnings potential.”

             45.   According to an October 2019 report by Healthy Babies Bright Futures (the “HBBF

  Report”) reliable and recent research confirms that widespread exposure to foods with arsenic,

  lead, cadmium, and mercury can lead to troubling risks, including IQ loss, attention deficits, and

  other learning and behavioral impacts among children. Further, “[t]hree of the metals, arsenic, lead

  and cadmium, are also potent human carcinogens.”9 The HBBF Report further informs that

  “widespread exposure to toxic heavy metals shifts the population wide IQ curve down ... ratchets

  down the IQ of the most creative and intellectually gifted children,” adding that “for an individual

  child, the harm appears to be permanent.”10 James Dickerson, Ph.D., Chief Scientific Officer for

  Consumer Reports, has opined that “[e]xposure to heavy metals has a disproportionate adverse

  effect on developing minds and bodies.”

             46.   A published study titled, A Strategy for Comparing the Contributions of

  Environmental Chemicals and Other Risk Factors to Neurodevelopment of Children, found that

  exposure to heavy metals such as lead are “associated with 40,131,518 total IQ point loss in 25.5




  8
      Congressional Report at 9 (internal quotations omitted).
  9
    Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95
  Percent of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including
  Arsenic and Lead (Oct. 2019)
  (https://www.healthybabyfood.org/sites/healthybabyfoods.org/files/2020-
  04/BabyFoodReport_ENGLISH_R6.pdf)
  10
       Id.


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  million children (or roughly 1.57 lost IQ points per child)—more than the total IQ losses associated

  with preterm birth (34,031,025), brain tumors (37,288) and traumatic brain injury (5,827,300)

  combined.”11

             47.   The FDA has concluded that arsenic, lead, cadmium, and mercury are hazardous to

  babies and children, have “no established health benefit,” and “lead to illness, impairment, and in

  high doses, death.” Even low levels of these heavy metals are concerning to health and well-being.

                   1.     Arsenic

             48.   Arsenic is an odorless and tasteless element that does not degrade or disappear.

  Arsenic is highly toxic and a known cause of human cancers. Exposure to arsenic can cause

  respiratory, gastrointestinal, hematological, hepatic, renal, skin, neurological and immunological

  effects, and damage to children’s central nervous systems and cognitive development.12

             49.   The consumption of arsenic can also result in serious and life-threatening health

  problems. The Department of Health and Human Services’ Agency for Toxic Substances and

  Disease Registry (“ATSDR”) has ranked arsenic as the number one substance present in the

  environment that poses the most significant threat to human health. The known health risks

  resulting from arsenic exposure include “respiratory, gastrointestinal, hematological, hepatic,

  renal, skin, neurological and immunological effects, as well as damaging effects on the central

  nervous system and cognitive development in children.”13

             50.   Arsenic is a baby food contaminant that has also been linked to bladder, lung and



  11
       Congressional Report at 9.

  12
       Id. at 10 (emphasis removed).
  13
       Id.

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  skin cancer, and adverse effects on nervous systems, in our nation’s youth. Arsenic also targets the

  developing brain. At least 13 peer reviewed scientific studies link arsenic to IQ loss for children

  exposed in utero or during the first few years of life.14 Studies have found that there are lasting

  impacts on children that are exposed to arsenic early in their lives. Adverse impacts include

  persistent cognitive deficits and neurological problems.15 One study of schoolchildren in Maine

  who drank water with an arsenic concentration level of more than 5 parts per billion (“ppb”)

  showed significant decreases, in “Full Scale IQ, Working Memory, Perceptional Reasoning and

  Verbal Comprehension scores.”16

             51.   According to the Congressional Report, “[t]here is no established safe level of

  arsenic consumption for babies”17 and there is no scientific evidence that the adverse effects that




  14
       Id.
  15
     Gail A. Wasserman, et al., Water Arsenic Exposure and Intellectual Function In 6-Year-Old
  Children In Araihazar, Bangladesh, Environmental Health Perspectives (Feb. 2007)
  (https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1817715/pdf/ehp0115-000285.pdf) (last visited
  June 2, 2022); Gail A. Wasserman, et al., Child Intelligence and Reductions in Water Arsenic
  and Manganese: A Two-Year Follow-up Study in Bangladesh, Environmental Health
  Perspectives (July 2016)
  (https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4937860/pdf/ehp.1509974.pdf) (last visited
  June 2, 2022); JD Hamadani, et al., Critical windows of exposure for arsenic-associated
  impairment of cognitive function in pre-school girls and boys: a population-based cohort study,
  International Journal of Epidemiology (Dec. 2011)
  (https://academic.oup.com/ije/article/40/6/1593/804088?login=false) (last visited June 2, 2022);
  Hideo Tanaka, et al., Long-term prospective study of 6104 survivors of arsenic poisoning during
  infancy due to contaminated milk powder in 1955, J Epidemiol (Aug. 2010)
  (https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3900820/pdf/je-20-439.pdf) (last visited June
  2, 2022).
  16
    Gail A. Wasserman, et al., A Cross-Sectional Study of Well Water Arsenic and Child IQ in
  Maine Schoolchildren (Apr. 1, 2014)
  (https://ehjournal.biomedcentral.com/articles/10.1186/1476-069X-13-23) (last visited June 1,
  2022).
  17
       Congressional Report at 51.
                                                  20
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  are caused by arsenic are reversible. Consumer advocacy groups like Healthy Babies Bright

  Futures has advocated that there should be no measurable amount of arsenic in baby food, while

  Consumer Reports has advocated for a limit of 3 ppb.

             52.   Because of the risks associated with exposure to arsenic, the FDA has set a

  maximum level of arsenic at 10 ppb for drinking water. The Environmental Protection Agency

  (“EPA”) and the WHO have set a similar limit. While the FDA has set a limit of 100 ppb of

  inorganic arsenic for infant rice cereal, it did so because it was focused on the level of arsenic that

  would cause cancer, but “disregarded the risk of neurological damage, which happens at a much

  lower level.”18 Thus, according to the Subcommittee’s Congressional Report, “the 100 ppb limit

  is too high to adequately protect infants and children from the effects of inorganic arsenic.”19

                   2.     Lead

             53.   According to the FDA, lead has no established health benefit. Lead is the second

  substance, after arsenic, on the ATSDR’s list of substances present in the environment potentially

  posing a significant threat to human health. The consumption of even low levels of lead from food

  and other sources has been found to contribute to 400,000 deaths every year.

             54.   The EPA, the Centers for Disease Control and Prevention (“CDC”) and the

  American Academy of Pediatrics (“AAP”) unanimously agree that there is no established “safe

  level of lead . . . in a child’s blood; even low levels of [lead] in the blood can result in behavior

  and learning problems, lower IQ and hyperactivity, slowed growth, hearing problems, and




  18
       Congressional Report at 52.
  19
       Id.


                                                    21
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  anemia.”20 Consistent with this assessment, the AAP and the EDF have proposed a maximum of

  1 ppb of lead in food for babies and children.21

           55.     The FDA has established a maximum daily intake of lead from food (called the

  Interim Reference Level) of 3 μg (or 3 ppb) for kids and 12.5 μg (or 12.5 ppb) for women of

  childbearing age. The consumer organization Healthy Babies Bright Futures has advocated for a

  standard of zero lead in baby food while Consumer Reports advocates for no more than 1 ppb of

  lead in foods and drinks for babies and children.

           56.     Outside the food context, the FDA has set a maximum limit on lead of 5 ppb for

  bottled water. The EPA has set an action level of 15 ppb of lead for drinking water while the WHO

  has set 10 ppb as a provisional guideline.

           57.     Jay Schneider, Ph.D., Professor of Anatomy, Pathology and Cell Biology at

  Thomas Jefferson University, Philadelphia, Pennsylvania, has examined hundreds of children who

  have suffered the effects of lead exposure and believes that even the tiniest amounts of lead in

  children’s food should be avoided. Dr. Schneider adds that “we know that there is no level of lead

  in the blood of a child that is safe” and that “no amount of heavy metals such as lead can be

  considered safe.”

           58.     Studies have shown that even low levels of lead exposure can have a negative

  impact on children. Lead is persistent, and it can bioaccumulate in the body over time.22 In two



  20
    Valerie Zartarian, et al., Children’s Lead Exposure: A Multimedia Modeling Analysis to Guide
  Public Health Decision-Making (Sept. 12, 2017)
  (https://ehp.niehs.nih.gov/doi/10.1289/ehp1605) (last visited June 1, 2022).
  21
       Congressional Report at 21.
  22
    See https://www.espa.gov/ground-water-and-drinking-water/basic-information-about-lead-
  drinking-water (last visited June 1, 2022).

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  different studies of schoolchildren in Detroit and Chicago public schools, a significant inverse

  relationship was found between lead exposure and test scores. The Detroit study found a strong

  correlation between early childhood lead exposure and reduced standardized test performance.23

  In the Chicago study, higher blood level concentrations were linked to lower reading and math

  scores in third-grade children, with a substantial 32% increase in failing reading and math.24

         59.     Early childhood lead exposure can result in permanent cognitive effects, as one

  study showed. In that study, adults who had developmental delays associated with lead exposure

  continued to show cognitive deficits.25

         60.     Several studies have also established a strong link between lead exposure and

  ADHD.26

                 3.     Cadmium

         61.     The ATSDR identifies cadmium as number seven on its list of substances present

  in the environment that potentially poses a significant threat to human health. Cadmium, like

  arsenic, has been shown to affect a child’s IQ level and the development of ADHD.

         62.     Several federal and state agencies have regulated cadmium. Pursuant to Proposition


  23
    Nanhua Zhang, et al., Early Childhood Lead Exposure and Academic Achievement: Evidence
  From Detroit Public Schools (Mar. 2013) (https://pubmed.ncbi.nlm.nih.gov/23327265/) (last
  visited June 1, 2022).
  24
     Anne Evens, et al., The Impact of Low-Level Lead Toxicity on School Performance Among
  Children in the Chicago Public Schools: A Population-Based Retrospective Cohort Study (Apr.
  7, 2015) (https://ehjournal.biomedcentral.com/articles/10.1186/s12940-015-0008-9) (last visited
  June 1, 2022).
  25
    Maitreyi Mazumdar, et al., Low-Level Environmental Lead Exposure in Childhood and Adult
  Intellectual Function: A Follow-Up Study (Mar. 30, 2011)
  (www.ncbi.nlm.nih.gov/pmc/articles/PMC3072933/) (last visited June 1, 2022).
  26
    Gabriele Donzelli, et al., The Association Between Lead and Attention-Deficit/Hyperactivity
  Disorder: A Systematic Review (Jan. 29, 2019) (www.mdpi.com/1660-4601/16/3/382/htm) (last
  visited June 1, 2022).
                                                  23
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  65, California has identified cadmium as causing developmental and male reproductive toxicity

  and has set an oral Maximum Allowable Dose Level of 4.1 μg (or 4.1 ppb) per day.

          63.        The FDA and EPA have set a maximum allowable limit of cadmium of 5 ppb in

  bottled water and drinking water. The WHO has set a maximum allowable limit of cadmium in

  drinking water at 3 ppb.

          64.        Consumer groups have advocated for even stricter levels of cadmium in foods. For

  example, Healthy Babies Bright Futures has advocated that no measurable amount of cadmium

  should be in baby foods, while Consumer Reports has advocated for a limit of 1 ppb of cadmium

  in fruit juices.

          65.        Cadmium has been linked in numerous scientific studies to neurotoxicity in

  children, and has been linked to cancer, kidney, bone, and heart damage. Studies by Harvard

  scientists have reported the tripling of the risk of learning disabilities and special education needs

  among children with higher cadmium exposure.27 This contaminant, found in baby foods, has been

  found to cause harm even at low levels of exposure.

          66.        A study examining the effect of cadmium exposure on children concluded that it

  negatively impacted Full Scale IQ, with a particular effect on boys. According to the 2018 study,

  boys “exhibiting higher amounts of cadmium exposure had seven fewer IQ points than those

  exhibiting less cadmium exposure.”28




  27
    Timothy Ciesielski, et al., Cadmium Exposure and Neurodevelopmental Outcomes in U.S.
  Children, Environmental Health Perspectives (May 2012)
  (https://ehp.niehs.nih.gov/doi/epdf/10.1289/ehp.1104152) (last visited June 2, 2022).
  28
    Congressional Report at 12 (citing Klara Gustin, et al., Cadmium Exposure and Cognitive
  Abilities and Behavior at 10 Years of Age: A Prospective Cohort Study (Apr. 2018)
  (https://pubmed.ncbi.nlm.nih.gov/29459184/).


                                                    24
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          67.     Another 2018 study found a link between cadmium exposure and ADHD and

  concluded that ADHD was more prevalent among children with the high cadmium exposure as

  compared to the control group.29

                  4.      Mercury

          68.     Mercury is the number three substance on ATSDR’s list of substances in the

  environment potentially posing a significant threat to human health. Mercury is a known toxin,

  and pre-natal exposure has been associated with affected neuro-development, a decreased IQ, and

  autistic behaviors. In 2015, scientists determined that there was a four-fold higher risk of IQ scores

  under 80 among school aged children exposed to high levels of mercury in utero. An IQ under 80

  is the clinical cutoff for borderline intellectual disability.

          69.     The impact of mercury exposure to humans and animals has been studied for years.

  As early as 1997, the EPA issued a report to Congress that detailed the health risks to humans and

  animals. Because of these risks and mercury’s toxicity, both state and federal regulators have

  enacted regulations to protect humans and animals.

          70.     Mercury contains an especially toxic form called “methyl mercury” that increases

  cardiovascular disease risk in adults and has been linked to poor performance on tests of vision,

  intelligence and memory for children exposed in utero. It has been well known among Gerber and

  other baby food manufacturers that a child’s developing brain is particularly sensitive to mercury.

  Evidence derived from two mass poisonings and a major longitudinal study of lower exposures

  from seafood, among other research demonstrates that the developing brain is particularly sensitive

  to mercury.



  29
    Min-Jing Lee, et al., Heavy Metals’ Effects on Susceptibility to Attention-Deficit/Hyperactivity
  Disorder: Implication of Lead, Cadmium, and Antimony (June 10, 2018)
  (https://pubmed.ncbi.nlm.nih.gov/29890770/) (last visited June 1, 2022).
                                                      25
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           71.   As with arsenic, lead, and cadmium, Healthy Babies Bright Futures advocates for

  a goal of zero level of mercury in baby food. Outside the baby food context, the FDA has set a

  limit of 2 ppb of mercury in bottled water, while the EPA has set a limit of 2 ppb for drinking

  water.

           72.   Mercury’s effect on children’s development has been studied in the context of a

  pregnant woman’s exposure to mercury. Pre-natal “mercury exposure has been consistently

  associated with adverse subsequent neuro-development.”30

           73.   Each of the four Heavy Metals identified above — arsenic, lead, cadmium, and

  mercury — has been known by Gerber to be toxic. Despite knowledge of their toxicity and

  potential adverse impact on babies and children, Gerber has failed to establish sufficient quality

  control mechanisms with respect to Heavy Metals to ensure the safety of the Gerber Baby Food

  Products. Gerber’s general policy is to test only some ingredients, and not its final products or for

  all Heavy Metals. Finished baby foods are more toxic than their ingredients alone. According to

  the Congressional Report, these practices recklessly endanger babies and young children and

  prevents Gerber from ever knowing the full extent of the danger presented by its products.

           74.   Nothing could be more important to a parent’s decision on what baby food to

  purchase than whether the product is safe and healthy for their child, and Gerber knows this. Brian

  Ronhom, Director of Food Policy with Consumer Reports, states that “the last thing parents expect

  to find in baby food are toxic heavy metals like arsenic and lead that can threaten their child’s

  health and wellbeing.” However, Gerber has failed to protect vulnerable infants and toddlers from

  dangerous Heavy Metals.


  30
    Margaret R. Karagas, et al., Evidence on the Human Health Effects of Low-Level
  Methylmercury Exposure (June 1, 2012) (https://pubmed.ncbi.nlm.nih.gov/22275730/) (last
  visited June 1, 2022).

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         75.     Gerber has failed to disclose to consumer on its packaging that: (1) the Gerber Baby

  Food Products contain or were at material risk of containing harmful Heavy Metals; (2) Gerber

  inadequately tested, or never tested, for all Heavy Metals in all the ingredients it uses and/or its

  finished products; and that (3) when Gerber does set internal standards, they allow for the sale of

  Baby Food Products with Heavy Metals in amounts that could cause harm to babies and children

  and at times, the Baby Food Products have failed to meet even those internal standards.

         C.      The Gerber Baby Food Products

                   1.    Gerber Represents Itself as a Purveyor of Safe and Healthy Baby Foods

         76.     Gerber manufactures, distributes, and sells food for babies and young children and

  offers of a wide variety of food products such as traditional baby food purees, baby cereals, puffs,

  and rice cakes, among other products. To gain the trust of the consuming public, and because it

  knows these issues are of the utmost importance to consumers, Gerber holds itself out as a

  company that cares about the health of babies and kids and the foods they eat. Gerber knows that

  parents are very concerned about the foods they feed their children and thus seek foods that are

  safe and healthy for babies and young children. According to its website,31 Gerber promises

  parents that “100% of our products meet all FDA requirements.” Gerber claims to do “[o]ver 100

  quality checks in every jar” throughout “5 different stages of safety and quality checks from farm

  to spoon,” and promises that “[t]he health and safety of your little one has been and will always be

  our highest priority,” adding that “on top of that Gerber follows an annual testing plan featuring

  regular safety tests of finished products,” leading consumers to believe the products are rigorously




  31
     Gerber Quality & Safety FAQs, https://gerberorganicfood.com/my/article/quality-safety-faqs/
  (last visited June 3, 2022).

                                                  27
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  tested for any and all toxins and contaminants.32 Gerber claims its standards are “the strictest in

  not just the U.S., but in the world.”33

             77.   Again acknowledging that Heavy Metals are an important issue for consumers,

  Gerber also touts on its website that its ingredients are safe and free of Heavy Metals. On its

  Quality & Safety FAQs page, Gerber states, “At Gerber, our farmers are using best in class

  practices to ensure quality ingredients and minimize the presence of any unwanted heavy metals.”

  Gerber claims that its farmers “reduce the presence of [Heavy Metals] by: using best in class

  practices like soil testing, rotating crops, and choosing peak harvest times.”34

             78.   In addition, Gerber’s “Clean Field FarmingTM” marketing strategy, in use since at

  least 2019, seeks to showcase Gerber’s purported focus on providing safe foods for babies and

  toddlers. For example, Gerber asserts that it was “Keeping Soil in the Family,” stating that “[s]ome

  soil can have naturally high levels of nitrates and heavy metals which you don’t want in your

  baby’s food. That’s why we created requirements for growing our fruits and veggies” that are

  among the strictest in the world.35 Gerber assured consumers that “[w]e know where every fruit

  and veggie is grown” and that “[o]ur agriculture team knows exactly how to grow for babies.”




  32
    See Gerber Quality & Safety FAQs, https://www.gerber.com/learning-center/quality-safety-
  faqs (last visited June 1, 2022).
  33
       Id.
  34
       Id.
  35
    See Gerber Clean Field Farming™, www.gerber.com/clean-field-farming, archived at
  https://web.archive.org/web/20190616130535/https://www.gerber.com/clean-field-farming, on
  June 16, 2019.


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  Gerber’s website contained these statements until at least September 27, 2020.36

         79.     Even though Gerber made these statements to portray itself as a caring company

  and because it knew that consumers would find these issues important, in fact it did not conduct

  sufficient testing, or set internal standards, to ensure that its Baby Food Products were not sold on

  the market with harmful Heavy Metals. Nor did Gerber disclose these facts on its product

  packaging.

                 2.      Gerber’s Baby Food Product Packaging Conveys the Impression that the
                         Foods are Safe and Suitable for Babies and Young Children


         80.     Defendant’s product packaging uniformly conveys that its Baby Food Products are

  safe and suitable for consumption by babies and young children. Every package of a Gerber Baby

  Food Product features the famous “Gerber Baby” that the company is known for. This iconic logo

  is meant to and does convey that Gerber is a company that cares about the health and safety of

  children.

         81.     In addition to the famous “Gerber Baby” on the product packaging, the packages

  also have other indications that convey the impression that the Baby Food Products are safe and

  suitable for babies and young children. For example, the Gerber Puffs package clearly depicts a

  crawling baby and indicates that the puffs are intended for “Crawler[s] 8+ months.” Defendant

  also markets its Puffs as supporting “brain development and learning ability.” Defendant’s

  statements, taken together and considered as a whole, from the perspective of a reasonable

  consumer, conveyed that the Gerber Puffs are safe and suitable for consumption by babies. But

  nowhere on its packaging does Gerber disclose to consumers that: (1) the product contains or was



  36
    See Gerber Clean Farming™, www.gerber.com/clean-field-farming, archived at
  https://web.archive.org/web/20200927063937/https://www.gerber.com/clean-field-farming, on
  September 27, 2020.
                                                   29
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         84.     Regarding the Gerber Lil’ Crunchies, on the front of the packaging is the famous

  “Gerber Baby,” and a depiction of a crawling baby with words stating that the product is for

  “Crawler[s] 8+ months.” The packaging also touts the fact that the Lil’ Crunchies are “Baked with

  Whole Grains.” Defendant’s statements, taken together and considered as a whole, from the

  perspective of a reasonable consumer, convey that the Gerber Lil’ Crunchies are safe and suitable

  for consumption by babies. But nowhere on its packaging does Gerber disclose to consumers that:

  (1) the product contains or was at material risk of containing harmful Heavy Metals; (2) Gerber

  inadequately tested, or never tested, for all Heavy Metals in all the ingredients it uses and/or its

  finished products; and that (3) when Gerber does set internal standards, they allow for the sale of

  Baby Food Products with Heavy Metals in amounts that could cause harm to babies and children

  and at times, the Baby Food Products have failed to meet even those internal standards.

         85.     The Gerber Lil’ Crunchies are sold in several flavors, including: Mild Cheddar,

  Veggie Dip, Garden Tomato, Apple Sweet Potato, Ranch, Vanilla Maple, Organic White Cheddar

  Broccoli, and Organic White Bean Hummus.




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  tested, or never tested, for all Heavy Metals in all the ingredients it uses and/or its finished

  products; and that (3) when Gerber does set internal standards, they allow for the sale of Baby

  Food Products with Heavy Metals in amounts that could cause harm to babies and children and at

  times, the Baby Food Products have failed to meet even those internal standards.

         91.     The Gerber 1st Foods are sold in several flavors, including: Banana, Sweet Potato,

  Carrot, Green Bean, Apple, and Butternut Squash, among others. Below is an example of the front

  package of the Gerber 1st Foods product:




         92.     Gerber’s 2nd Foods are purees that also depict the famous “Gerber Baby,” depict a

  sitting baby, and indicate that the 2nd Foods are intended for a “Sitter.” Defendant’s statements,

  taken together and considered as a whole, from the perspective of a reasonable consumer, convey

  that the Gerber 2nd Foods are safe and suitable for consumption by babies. But nowhere on its

  packaging does Gerber disclose to consumers that: (1) the product contains or was at material risk

  of containing harmful Heavy Metals; (2) Gerber inadequately tested, or never tested, for all Heavy

  Metals in all the ingredients it uses and/or its finished products; and that (3) when Gerber does set


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  internal standards, they allow for the sale of Baby Food Products with Heavy Metals in amounts

  that could cause harm to babies and children and at times, the Baby Food Products have failed to

  meet even those internal standards. The Gerber 2nd Foods are sold in several flavors, including:

  Banana, Sweet Potato, Carrot, Green Bean, Apple, and Butternut Squash, among others. Below is

  an example of the front packaging of the Gerber 2nd Foods product:




         93.     Gerber Cereals also depict the famous “Gerber Baby,” a depiction of a baby, and

  indicate that the product is for “Supported Sitter” babies, “Sitters,” or “Toddler 12+ months,”

  depending on the product. Defendant’s statements, taken together and considered as a whole, from

  the perspective of a reasonable consumer, convey that the Gerber Cereals are safe and suitable for

  consumption by babies and toddlers. But nowhere on its packaging does Gerber disclose to

  consumers that: (1) the product contains or was at material risk of containing harmful Heavy

  Metals; (2) Gerber inadequately tested, or never tested, for all Heavy Metals in all the ingredients

  it uses and/or its finished products; and that (3) when Gerber does set internal standards, they allow

  for the sale of Baby Food Products with Heavy Metals in amounts that could cause harm to babies

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  and children and at times, the Baby Food Products have failed to meet even those internal

  standards.

         94.    The Gerber Cereals include the Gerber Rice Cereal; Oatmeal; Single Grain Rice

  Cereal; Oatmeal Single Grain Cereal; MultiGrain Cereal; Apple Cinnamon Oatmeal & Barley

  Cereal; Oatmeal Banana Probiotic Cereal; Oatmeal Peach Apple Probiotic Cereal; Organic

  Oatmeal Banana Cereal; Organic Oatmeal Millet Quinoa Cereal; Banana Apple Strawberry

  Multigrain Cereal; Whole Wheat Apple Blueberry Cereal; Bananas & Cream Oatmeal & Barley

  Cereal; DHA & Probiotic Rice Cereal; Organic Oatmeal; Organic Single-Grain Rice Cereal;

  MultiGrain Cereal; Whole Wheat Cereal; Lil’ Bits Oatmeal Banana Strawberry Cereal; Probiotic

  Oatmeal, Lentil, Carrots & Apples; Probiotic Oatmeal, Lentil, Carrots & Peas; My 1st Solids

  Starter Kit; Powerblend Probiotic Cereal Oatmeal Lentil Peach & Apple; and Powerblend

  Probiotic Oatmeal Chickpea Banana & Chia Cereal. Below is an example of the front package of

  a Gerber Cereal product:




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         95.     Regarding Gerber Juices, the packaging depicts the famous “Gerber Baby” as well

  as a depiction of a walking baby, and indicates that the product is for “Toddler[s] 12+months.”

  Defendant’s statements, taken together and considered as a whole, from the perspective of a

  reasonable consumer, convey that the Gerber Juices are safe and suitable for consumption by

  babies and toddlers. But nowhere on the packaging does Gerber disclose to consumers that: (1) the

  product contains or was at material risk of containing harmful Heavy Metals; (2) Gerber

  inadequately tested, or never tested, for all Heavy Metals in all the ingredients it uses and/or its

  finished products; and that (3) when Gerber does set internal standards, they allow for the sale of

  Baby Food Products with Heavy Metals in amounts that could cause harm to babies and children

  and at times, the Baby Food Products have failed to meet even those internal standards.

         96.     The Gerber Juices are sold in the following varieties: 100% Apple Juice; 100% Pear

  Juice; Strawberry Kiwi Flavor Water & Fruit Juice; 100% Apple Prune Juice; and 100% White

  Grape Juice. Below is an example of the front package of a Gerber Juice product:




         97.     Gerber’s Arrowroot Biscuits are described as “Baby’s First Biscuit” on the front of

  the packaging. The product depicts the famous “Gerber Baby,” a depiction of a crawling baby, and

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  indicates that the food is for “Crawler[s] 10+months.” Defendant’s statements, taken together and

  considered as a whole, from the perspective of a reasonable consumer, convey that Gerber’s

  Arrowroot Biscuits are safe and suitable for consumption by babies. But nowhere on its packaging

  does Gerber disclose to consumers that: (1) the product contains or was at material risk of

  containing harmful Heavy Metals; (2) Gerber inadequately tested, or never tested, for all Heavy

  Metals in all the ingredients it uses and/or its finished products; and that (3) when Gerber does set

  internal standards, they allow for the sale of Baby Food Products with Heavy Metals in amounts

  that could cause harm to babies and children and at times, the Baby Food Products have failed to

  meet even those internal standards.

         98.     Below is an example of the front package of the Gerber Arrowroot Biscuit product:




         99.     Like Gerber’s other Baby Food Products, the Gerber Teether Wheels have the

  famous “Gerber Baby” on the front of the package, a depiction of a crawling baby, and the words

  “Crawler 8+ months.” Defendant’s statements, taken together and considered as a whole, from the


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  perspective of a reasonable consumer, convey that Gerber’s Teether Wheels are safe and suitable

  for consumption by babies. But nowhere on its packaging does Gerber disclose to consumers that:

  (1) the product contains or was at material risk of containing harmful Heavy Metals; (2) Gerber

  inadequately tested, or never tested, for all Heavy Metals in all the ingredients it uses and/or its

  finished products; and that (3) when Gerber does set internal standards, they allow for the sale of

  Baby Food Products with Heavy Metals in amounts that could cause harm to babies and children

  and at times, the Baby Food Products have failed to meet even those internal standards.

         100.    The Teether Wheels are sold in two flavors: Apple Harvest and Banana Cream.

  Below is an example of the front package of the Gerber Teether Wheels:




         101.    Gerber Yogurt Blends have the famous “Gerber Baby” on the front of the

  packaging, as well as a depiction of a crawling baby with the words “Crawler 8+ months” or depict

  a playing toddler with the words “Toddler 12+ months.” Defendant’s statements, taken together

  and considered as a whole, from the perspective of a reasonable consumer, convey that Gerber


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  Yogurt Blends are safe and suitable for consumption by babies and toddlers. But nowhere on the

  packaging does Gerber disclose to consumers that: (1) the product contains or was at material risk

  of containing harmful Heavy Metals; (2) Gerber inadequately tested, or never tested, for all Heavy

  Metals in all the ingredients it uses and/or its finished products; and that (3) when Gerber does set

  internal standards, they allow for the sale of Baby Food Products with Heavy Metals in amounts

  that could cause harm to babies and children and at times, the Baby Food Products have failed to

  meet even those internal standards. Below is an example of the front package of the Gerber Yogurt

  Blends:




         102.    The Gerber Fruit & Veggie Melts have the famous “Gerber Baby” on the front of

  the package, as well as a depiction of a crawling baby with the words “Crawler 8+ months.”

  Defendant’s statements, taken together and considered as a whole, from the perspective of a

  reasonable consumer, convey that the Fruit & Veggie Melts are safe and suitable for consumption

  by babies. But nowhere on its packaging does Gerber disclose to consumers that: (1) the product

  contains or was at material risk of containing harmful Heavy Metals; (2) Gerber inadequately

  tested, or never tested, for all Heavy Metals in all the ingredients it uses and/or its finished

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  products; and that (3) when Gerber does set internal standards, they allow for the sale of Baby

  Food Products with Heavy Metals in amounts that could cause harm to babies and children and at

  times, the Baby Food Products have failed to meet even those internal standards.

         103.   The Fruit & Veggie Melts are sold in several flavors, including: Strawberry Yogurt

  Melts, Very Berry Blend Fruit & Veggie Melts, Mixed Berries Yogurt Melts, Banana Vanilla

  Yogurt Melts, Strawberry & Mixed Berries Yogurt Melts, Banana Strawberry Organic Yogurt

  Melts, and Red Berries Organic Yogurt Melts. Below is an example of the front package of the

  Gerber Fruit & Veggie Melts:




         104.   The Gerber Graduates Mealtime for Toddler products have the famous “Gerber

  Baby” on the front of the package, as well as a depiction of a playful toddler with the words

  “Toddler 12+ months.” Defendant’s statements, taken together and considered as a whole, from

  the perspective of a reasonable consumer, convey that the Graduates Mealtime for Toddler

  products are safe and suitable for consumption by toddlers. But nowhere on its packaging does
                                                 41
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  Gerber disclose to consumers that: (1) the product contains or was at material risk of containing

  harmful Heavy Metals; (2) Gerber inadequately tested, or never tested, for all Heavy Metals in all

  the ingredients it uses and/or its finished products; and that (3) when Gerber does set internal

  standards, they allow for the sale of Baby Food Products with Heavy Metals in amounts that could

  cause harm to babies and children and at times, the Baby Food Products have failed to meet even

  those internal standards.

         105.    The Graduates Mealtime for Toddler products are sold in several flavors, including:

  Harvest Bowl Garden Tomato, Harvest Bowl Pesto, Harvest Bowl Spanish Style Sofrito, Pick-ups

  Chicken & Parmesan Cheese Ravioli, Pick-ups Chicken & Carrot Ravioli, and Mashed Potatoes

  & Gravy with Roasted Chicken and a Side of Carrots. Below is an example of the front package

  of a Mealtime for Toddler product:




         106.    The Gerber Diced Carrots Pick-Ups have the famous “Gerber Baby” on the front

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  of the package, as well as a depiction of a crawling baby with the words “Crawler 10+ months.”

  Defendant’s statements, taken together and considered as a whole, from the perspective of a

  reasonable consumer, convey that the Diced Carrots Pick-Ups are safe and suitable for

  consumption by babies. But nowhere on its packaging does Gerber disclose to consumers that: (1)

  the product contains or was at material risk of containing harmful Heavy Metals; (2) Gerber

  inadequately tested, or never tested, for all Heavy Metals in all the ingredients it uses and/or its

  finished products; and that (3) when Gerber does set internal standards, they allow for the sale of

  Baby Food Products with Heavy Metals in amounts that could cause harm to babies and children

  and at times, the Baby Food Products have failed to meet even those internal standards. Below is

  an example of the front package of the Diced Carrots Pick-Ups:




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                       3.     Congressional Investigations Published in 2021 Reveal that Gerber
                              Knowingly Sold Unsafe, Finished Baby Foods Containing Heavy Metals

            107.       On February 4, 2021, the United States House of Representatives Subcommittee on

  Economic and Consumer Policy (the “Subcommittee”) published the Congressional Report,

  disclosing investigative findings that numerous commercial baby foods, including those

  manufactured by Gerber, were “tainted with significant levels of toxic heavy metals, including

  arsenic, lead, cadmium, and mercury.”37 Congressional investigators examined a wide range of

  baby foods including rice cereals, purees, puffs and juices. The Congressional Report found that

  organic products were as likely as conventional products to contain Heavy Metals. 38

            108.       According to the Congressional Report, Gerber sold finished baby food products,

  despite internal testing dated as early as 2017 showing that the products were unsafe because they

  contained ingredients with harmful levels heavy metals which are unsafe for babies and young

  children.

            109.       For example, while Gerber did not provide the Subcommittee with arsenic results

  for all of its ingredients, Gerber provided the Subcommittee with internal test results showing that

  from 2017-2019, 67 batches of rice flour (an ingredient in many of the Baby Food Products)

  contained over 90 ppb of inorganic arsenic and certain batches tested as high as 98 ppb. These

  results are nearly 10 times more than the limit that the FDA has set for bottled water and that the

  EPA and WHO have set for drinking water. Moreover, the Congressional Report also indicated

  that Gerber failed to conduct testing of its finished baby food products for arsenic.

            110.       Regarding lead, again, Gerber provided the Subcommittee with limited testing



  37
       Congressional Report at 4.
  38
       See id. at 9.
                                                      44
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  results. This limited testing from 2017-2019, however, was sufficient to show Gerber’s disregard

  for the health and safety of babies and children and what the Subcommittee described as a

  “willingness to use ingredients that contained dangerous lead levels.” Gerber’s lead testing showed

  that ingredients such as sweet potatoes tested as high as 48 ppb lead. Twelve other batches of sweet

  potato tested at over 20 ppb lead. Other ingredients contained over 29 ppb lead, even though there

  is no amount of lead in a child’s blood which is considered safe. Moreover, this is over 15 times

  the FDA’s Interim Reference Level of 3 ppb of lead for food consumed by children. Again, Gerber

  provided no results regarding lead in its finished Gerber Baby Food Products.

         111.    As to cadmium, Gerber’s testing results from 2017-2019 showed that it used

  multiple batches of carrots containing as much as 87 ppb, far exceeding the 5 ppb cadmium

  allowed by the FDA and EPA for bottled and drinking water. Moreover 75% of the carrots Gerber

  used in its foods tested at more than 5 ppb cadmium. Gerber does not test all its ingredients for

  cadmium, and Gerber provided no results regarding cadmium in its finished Gerber Baby Food

  Products.

         112.    As to mercury, Gerber has buried its head in the sand. According to the

  Subcommittee, Gerber rarely tested for mercury in its baby food products and then only in certain

  ingredients such as carrots, sweet potatoes, and lemon juice concentrate.

         113.    As the above testing shows, from 2017 to 2019, and later, Gerber sold baby food

  products that had harmful Heavy Metals. Third-party testing has also shown that numerous Gerber

  Baby Food Products, including Gerber Puffs, Gerber Fruit & Veggie Melts, Gerber 1st and 2nd

  Foods, Gerber Arrowroot Biscuits, Gerber Teether Wheelers, Gerber Diced Carrots Veggie Pick-

  Ups, and Gerber Graduates Mealtime for Toddler, contained excessively high amounts of arsenic,




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  lead, cadmium and/or mercury.39

            114.    The Congressional Report found that Gerber sold baby food products with

  ingredients that exceed the company’s own internal standards for Heavy Metals.40 For example,

  internal documents provided to the Subcommittee indicate that Gerber set an internal limit of 40

  ppb for lead, but sold products that had 48 ppb lead. 41 According to the Congressional Report,

  most baby food companies do not regularly test the products before they go to market, and even

  when they do, products with high levels of Heavy Metals are still sold.

            115.    Representative Raja Krishnamoorthj, Chairman of the Subcommittee, told

  Consumer Reports that there are “dangerous levels of toxic metals in baby foods, and the levels

  far exceed what experts and governing bodies say is permissible. Left to their own devices, baby

  food makers have set testing standards in excess of what recommended standards are, and even

  then, they often violate their standards.”

            116.    The Congressional Report provides evidence that baby food companies such as

  Gerber are not doing enough to reduce risk from exposure to these Heavy Metals, and that phases

  of the manufacturing process, including the addition of vitamins and mineral mixes, may actually

  be contributing to the high levels of Heavy Metals in the Baby Food Products. The Congressional

  Report concluded that “[t]hese toxic heavy metals [in baby foods] pose serious health risks to

  babies and toddlers. Manufacturers knowingly sell these products to unsuspecting parents, in spite

  of internal company standards and test results, and without any warning labeling whatsoever.”42


  39
       See HBBF Report.
  40
       See Congressional Report at 33.
  41
       See Congressional Report at 28.
  42
       Id. at 59.


                                                 46
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             117.   On September 29, 2021, the Subcommittee issued a supplemental report

  (“Supplemental Report”) to the February 21, 2021 Congressional Report concerning heavy metals

  found in baby foods manufactured and sold by Gerber and other U.S. manufacturers.43 The

  Supplemental Report found that Gerber, and other baby food manufacturers, “consistently cut

  corners and put profit over the health of babies and children.”

             118.   The Supplemental Report was based in large part on testing of certain baby foods

  conducted by the State of Alaska’s Department of Environmental Health Laboratory (hereafter

  “Alaska”) through a cooperative agreement program to “strengthen the FDA’s efforts to minimize

  foodborne exposure.”44 Alaska was awarded a grant through the program for purposes of testing

  inorganic arsenic levels in infant rice cereal and to determine whether the levels of inorganic

  arsenic in those products complied with the FDA’s 100 ppb standard.45 Alaska collected infant

  rice cereal samples taken randomly from customer shelves at various retail locations around

  Anchorage, Alaska in March and April 2021, which were tested in May 2021. Alaska reported the

  test results to Gerber, another manufacturer (Beech-Nut), and the FDA in May 2021.46 The FDA

  reviewed Alaska’s testing results, confirmed that Alaska’s methods were sound, and that the data




  43
     See “New Disclosures Show Dangerous Levels of Toxic Heavy Metals in Even More Baby
  Foods,” Staff Report, U.S. House of Representatives, Subcommittee on Economic and Consumer
  Policy, Committee on Oversight and Reform, Sept. 29, 2021 (accessible at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/ECP%20Second%20Baby
  %20Food%20Report%209.29.21%20FINAL.pdf) (last visited June 1, 2022).
  44
       Id. at 5.
  45
       See id.
  46
       See id.


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  supported a food safety violation.47

            119.   The Supplemental Report made a number of significant findings concerning

  Gerber’s infant rice cereal products, including that the Alaska test results “reveal dangerous levels

  of toxic inorganic arsenic … in Gerber infant rice cereal products. … Gerber, despite its products’

  having similar inorganic arsenic levels to those of the Beech-Nut products, failed to take any

  action.”48 Specifically with respect to Gerber, its rice cereals “tested up to 116 ppb inorganic

  arsenic,” which is even higher than the amount contained in Beech-Nut’s average rice cereal

  product. While Beech-Nut recalled some of its products and completely discontinued sales of its

  rice cereal, Gerber has taken no such actions to protect consumers.”49 The Supplemental Report

  castigated Gerber for continuing to sell its rice cereal with nearly identical inorganic arsenic levels

  to Beech-Nut’s rice cereal, instead of issuing a recall like Beech-Nut did.

            120.   The Supplemental Report also found that the processes by which most baby food

  manufacturers test their products for Heavy Metals are flawed. Rather than testing finished

  products, they test individual ingredients which can underestimate the levels of toxic heavy metals

  in their products.50

            121.   As the leading manufacturer of baby food in the United States, Gerber has been

  fully aware at all material times that exposure to even small amounts of Heavy Metals may, over

  time, negatively impact babies and young children by increasing the risk of several serious health



  47
       See id.
  48
       Id. at 3 (emphasis added).
  49
       Id. (emphasis added).
  50
       See Supplemental Report at 3.


                                                    48
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  problems, including those involving carcinogenic, cognitive, and reproductive effects. Babies and

  young children are the most at risk, particularly given the potential harm of Heavy Metals exposure

  on developing brains in the form of lower IQ and behavior problems.

         122.    Despite touting itself as a family company that cares about babies and children and

  aims to provide nutritious and healthy foods, and conveying through statements on product

  packaging that the Gerber Baby Food Products are safe and suitable for babies and young children,

  Gerber knowingly sold Baby Food Products that were unsafe for babies and children and failed to

  disclose material facts to consumers, including: that (1) the Gerber Baby Food Products contain or

  were at material risk of containing harmful Heavy Metals; (2) Gerber inadequately tested, or never

  tested, for all Heavy Metals in all the ingredients it uses and/or its finished products; and that (3)

  when Gerber does set internal standards, they allow for the sale of Baby Food Products with Heavy

  Metals in amounts that could cause harm to babies and children and at times, the Baby Food

  Products have failed to meet even those internal standards.

         123.    The FDA, through its Closer to Zero Initiative (“Action Plan”), is reviewing the

  levels of Heavy Metals in baby foods and considering action levels for certain toxic elements as

  appropriate. The FDA states that it has “prioritized babies and young children because their smaller

  body sizes and metabolism make them more vulnerable to the harmful effects of these

  contaminants.” However, any proposed action levels if adopted would only prohibit the placement

  of the baby foods in the market in the future – it would not require the disclosure of the presence

  of Heavy Metals on any label or packaging or apply retroactively. Thus, the Action Plan does not

  address the basis of this lawsuit: the disclosure of Heavy Metals on the product packaging. And

  if there is even final adoption of the Action Plan, the FDA set forth a generalized and long period

  of review which vaguely extends to “April 2024 and beyond.”



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                  4.     Gerber’s Knowledge Predates the Congressional Reports

         124.     Gerber was aware that its products were not safe well before the February 4, 2021

  Congressional Report based on internal testing from 2017 that was produced to the Congressional

  Committee. Moreover, as a participant in the Baby Food Council (“BFC”), Gerber knew that

  ingredients it used in its baby food products contained Heavy Metals and that the inclusion of the

  Heavy Metals was a serious issue that needed to be addressed through proper testing and higher

  supplier standards.

         125.     The BFC was formed in 2019 with the goal to reduce heavy metals in baby foods

  to as low as possible or as low as reasonably achievable using best-in-class management practices.

         126.     Gerber participated in the BFC and initially agreed to provide information relating

  to heavy metals so that the baby food companies could develop standards which the companies

  would voluntarily adhere to. But Gerber never provided the originally agreed upon data.

         127.     During its engagement with the BFC, Gerber was put on notice in a May 17, 2020

  email from Tom Neltner of the EDF that three carrot food types in the marketplace (puree, baby

  carrots, and fresh peeled and broiled carrots) had cadmium levels between 10 and 20 ppb; that lead

  was more commonly detected in baby food puree; and that arsenic is more commonly found in

  baby carrots.

         128.     On this same day, Gerber also received notice from Mr. Neltner that sweet potato

  puree and canned sweet potatoes on the market had lead levels above 10 ppb and that lead was

  detected in all of the samples except baked sweet potatoes with skins removed.

         129.     Members of the BFC, like Gerber, were also provided information on best practices

  for preventing Heavy Metal contamination, like focusing on getting ingredient suppliers to utilize

  certain testing laboratories that were identified as capable of accurately and consistently detecting



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  low levels of Heavy Metals in baby foods. Of specific concern to the BFC were sweet potatoes,

  carrots, and squash because those foods are commonly used in baby food products and often have

  detectable levels of lead and cadmium. The BFC also provided grants to universities to analyze

  data relating to ingredient testing and an employee of Gerber, Todd DeKryger, managed the

  connection between the universities and the BFC.

         130.    Some of the information and best practices the BFC considered included a

  Louisiana State University project called “Sweet Potato Best Practices to Reduce Heavy Metals,”

  that proposed the development of best practices as a way to help reduce the risk of heavy metal

  contamination in the sweet potato production and supply chains. The BFC also considered

  materials by Principal Investigator Rui Hai Lue at Cornell University called “Reduction of Heavy

  Metals in Infant and Toddler Foods, A proposal to the Baby Food Council.”

         131.    As part of its participation in the BFC, Gerber was also charged with review of the

  study of sweet potatoes and heavy metals.

         132.    During BFC meetings, the parties also considered and discussed supply chain

  issues, including but not limited to specific issues relating to carrots and sweet potatoes. The BFC

  also developed a “Heavy Metal Questionnaire” to assist and assess ingredient suppliers on issues

  relating to heavy metals.

         133.    As such, Gerber was armed with the knowledge that there were many steps it could

  and should take to decrease the presence of heavy metals in its baby foods, including (1) requiring

  suppliers to use additives in growing crops that reduce heavy metal uptake in the process; (2)

  choosing strains of foods known to be less prone to absorb heavy metals; (3) requiring testing of

  every ingredient received from a supplier and every lot of the baby foods; and (4) requiring audits

  of heavy metal testing results from all potential suppliers and testing of the soil where the product



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  is grown.

           134.    Gerber’s participation in the BFC makes it clear that Gerber knew that there were

  steps it could take with respect to its supply chain to minimize the presence of heavy metals

  through its participation in the BFC.


                   5.     Certain of Gerber’s Competitors are Manufacturing Baby Food Without
                          Measurable Levels of Heavy Metals

           135.    Certain of Gerber’s competitors are manufacturing baby food products with little

  to no detectable levels of Heavy Metals.

           136.    For example, the non-profit Clean Label Project tests products for more than 400

  contaminants, including Heavy Metals, and presents its Purity Award to manufacturers whose

  products do not have measurable levels of Heavy Metals. Gerber competitors, such as Nature’s

  One, Cerebelly, Bobbie, Else Nutrition, and Once Upon a Farm have all received such awards with

  respect to their products, including baby cereal, baby food purees, and infant and toddler formulas.

           137.    That Gerber’s competitors are able to produce foods without measurable levels of

  Heavy Metals shows that Gerber, the largest baby food manufacturer in the United States with the

  biggest market share, should be able to do the same.

           D.      PLAINTIFFS’ RELIANCE IS REASONABLE AND WAS FORESEEABLE

           138.    According to the Congressional Report:

           The Subcommittee’s investigation proves that commercial baby foods contain dangerous
           levels of arsenic, lead, mercury, and cadmium. These toxic heavy metals pose serious
           health risks to babies and toddlers. Manufacturers knowingly sell these products to
           unsuspecting parents, in spite of internal company standards and test results, and without
           any warning labeling whatsoever.51




  51
       Congressional Report at 59.

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            139.   Plaintiffs are reasonable consumers who do not have the scientific knowledge or

  wherewithal to independently determine that the Baby Food Products contained, or were at

  material risk of containing, harmful Heavy Metals or other undesirable toxins, or to ascertain the

  true nature of the ingredients in the Baby Food Products. Therefore, reasonable consumers must

  and do rely on baby food manufacturers like Gerber to provide them with accurate information as

  to what their baby food products contain. This is particularly true with respect to whether a food

  product intended for babies and young children contains or is at material risk of containing arsenic,

  lead, cadmium, and mercury. Facts pertaining to the presence of arsenic, lead, cadmium, and

  mercury in food products for babies and young children are material to reasonable consumers due

  to the healthy and developmental problems that can arise from consumption as detailed herein.

            140.   As Subcommittee Chairman Krishnamoorthi stated:

            Baby food manufacturers hold a special position of public trust. Consumers believe that
            they would not sell unsafe products. Consumers also believe that the federal government
            would not knowingly permit the sale of unsafe baby food. As this staff report reveals, baby
            food manufacturers and federal regulators have broken the faith.52

            141.   No reasonable consumer would knowingly purchase the Gerber Baby Food

  Products if they knew they contained or were at material risk of containing harmful Heavy Metals,

  and their reliance on Gerber’s statements and/or omissions is not required given the nature of the

  product defects and safety risks. Alternatively, Plaintiffs and members of the Class are presumed

  to, or did, reasonably rely on Gerber’s product packaging claims, warranties, omissions,

  advertisements, and other marketing concerning the qualities and benefits of the Baby Food

  Products in making their purchase decisions.

            142.   Had Plaintiffs and members of the Class known that: (1) the Gerber Baby Food



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       Congressional Report at 6.

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  Products contain or were at material risk of containing harmful Heavy Metals; (2) Gerber

  inadequately tested, or never tested, for all Heavy Metals in all the ingredients it uses and/or its

  finished products; and that (3) when Gerber does set internal standards, they allow for the sale of

  Baby Food Products with Heavy Metals in amounts that could cause harm to babies and children

  and at times, the Baby Food Products have failed to meet even those internal standards, Plaintiffs

  and members of the Class would not have purchased the Baby Food Products.

         E.      TOLLING OF THE STATUTE OF LIMITATIONS

                 1.        Discovery Rule Tolling

         143.    Within the period of any applicable statues of limitations, Plaintiffs and proposed

  Class members could not have discovered through the exercise of reasonable diligence that the

  Gerber Baby Food Products contained Heavy Metals and were unsafe for babies and young

  children to consume since they trusted Gerber and did not have access to, among other things, any

  internal testing that Gerber may have undertaken.

         144.    Plaintiffs and the other Class members did not discover, and did not know of, facts

  that would have caused a reasonable person to suspect that Gerber’s products contained Heavy

  Metals, or that Gerber’s advertising, marketing, and product packaging was false and/or

  misleading.

         145.    Plaintiffs and Class members could not have reasonably discovered the true extent

  of Gerber’s deception with regard to the lack of safety of the Gerber Baby Food Products until the

  publication of the Congressional Report on February 4, 2021.

         146.    For these reasons, all applicable statutes of limitation have been tolled by operation

  of the discovery rule.




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                   2.       Fraudulent Concealment Tolling

         147.    All applicable statutes of limitation have also been tolled by Gerber’s fraudulent

  concealment throughout the period relevant to this action of its own adverse internal testing and

  knowledge of dangerous levels of Heavy Metals in the Gerber Baby Food Products.

         148.    Instead of disclosing to consumers that the Gerber Baby Food Products contained

  or were at material risk for containing harmful Heavy Metals as determined by its own internal

  testing, Gerber continued to manufacture and represent that the products were safe and suitable for

  young children while concealing material information from the Plaintiffs and Class members.

                   3.       Estoppel

         149.    Gerber was under a continuous duty to disclose to Plaintiffs and the other Class

  members the risks of consuming the Gerber Baby Food Products.

         150.    Gerber knowingly, affirmatively, and actively concealed or recklessly disregarded

  the true risks of consuming the Gerber Baby Food Products, and meanwhile led consumers to

  believe that they were safe for consumption by babies and young children.

         151.    Accordingly, Gerber is estopped from relying on any statutes of limitations in

  defense of this action.

   V.    CLASS ACTION ALLEGATIONS

         152.    Plaintiffs brings this action on behalf of themselves and a national Class initially

  defined as follows: All persons residing in the United States who purchased Gerber Baby Food

  Products for personal, family, or household use, and not for resale, within the applicable statute of

  limitations period (the “National Class”).

         153.    Plaintiffs Bryant, Craig, and Verduzco also bring this action on behalf of

  themselves and a California class initially defined as follows: All persons residing in California


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  who purchased for personal, family, or household use, from 2017 to the present, one or more

  Gerber Baby Food Products (the “California Class”).

         154.    Plaintiffs Bryan, Gaetan, and Inoa also bring this action on behalf of themselves

  and a Florida class initially defined as follows: All persons residing in Florida who purchased for

  personal, family, or household use, from 2017 to the present, one or more Gerber Baby Food

  Products (the “Florida Class”).

         155.    Plaintiff Willoughby also brings this action behalf of herself and an Illinois class

  initially defined as follows: All persons residing in Illinois who purchased for personal, family, or

  household use, from 2017 to the present, one or more Gerber Baby Food Products (the “Illinois

  Class”).

         156.    Plaintiffs Velez and Visconti also bring this action on behalf of themselves and a

  New York class initially defined as follows: All persons residing in New York who purchased for

  personal, family, or household use, from 2017 to the present, one or more Gerber Baby Food

  Products (the “New York Class”).

         157.    Plaintiffs Moore and Wilson also bring this action on behalf of themselves and a

  Texas class initially defined as follows: All persons residing in Texas who purchased for personal,

  family, or household use, from 2017 to the present, one or more Gerber Baby Food Products (the

  “Texas Class”).

         158.    The National Class and the State Classes are collectively referred to herein as the

  “Class” unless otherwise stated.

         159.    Excluded from the proposed Class are Defendant, its parents, subsidiaries,

  affiliates, officers, and directors, any entity in which Defendant has a controlling interest, and all

  judges assigned to hear any aspect of this litigation, as well as their immediate family members.



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         160.    Plaintiffs reserve the right to re-define any of the Class definitions prior to class

  certification and after having the opportunity to conduct discovery.

         161.    This action has been properly brought and may properly be maintained as a class

  action under Rule 23(a)(1-4), Rule 23(b)(1), (2), or (3), and/or Rule 23(c)(4) of the Federal Rules

  of Civil Procedure.

         A.      Numerosity of the Proposed Class (Fed. R. Civ. P. 23(a)(1))

         162.    The members of the Class are so numerous that their individual joinder would be

  impracticable. The Class comprises at least hundreds of thousands of consumers. The precise

  number of Class members, and their addresses, are unknown to Plaintiffs at this time, but can be

  ascertained from Defendant’s records and/or retailer records. The members of the Class may be

  notified of the pendency of this action by mail or email, supplemented (if deemed necessary or

  appropriate by the Court) by published notice.

         B.      Predominance of Common Questions of Fact and Law (Fed. R. Civ. P.
                 23(a)(2); 23(b)(3))

         163.    Common questions of law and fact exist as to all members of the Class. These

  questions predominate over the questions affecting only individual members of the Class. The

  common legal and factual questions include, without limitation:

                 (a)    Whether Defendant knew its Baby Food Products contained, or were at risk

  of containing, harmful Heavy Metals;

                 (b)    Whether Defendant had a duty to disclose that: (1) its Baby Food Products

  contain, or are at material risk for containing, harmful Heavy Metals; (2) Gerber inadequately

  tested, or never tested, for all Heavy Metals in all the ingredients it uses and/or its finished

  products; and that (3) when Gerber does set internal standards, they allow for the sale of Baby

  Food Products with Heavy Metals in amounts that could cause harm to babies and children and at

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  times, the Baby Food Products have failed to meet even those internal standards;

                 (c)     Whether Defendant failed to disclose material facts to Plaintiffs and Class

  members regarding its Baby Food Products, namely that: (1) its Baby Food Products contain, or

  are at material risk for containing, harmful Heavy Metals; (2) Gerber inadequately tested, or never

  tested, for all Heavy Metals in all the ingredients it uses and/or its finished products; and that (3)

  when Gerber does set internal standards, they allow for the sale of Baby Food Products with Heavy

  Metals in amounts that could cause harm to babies and children and at times, the Baby Food

  Products have failed to meet even those internal standards;

                 (d)     Whether reasonable consumers were likely to be deceived by Defendant’s

  failure to disclose material facts on the Baby Food Products’ packaging;

                 (e)     Whether Defendant breached the implied warranty of merchantability;

                 (f)     Whether Defendant was unjustly enriched by the sale of the Baby Food

  Products;

                 (g)     Whether Defendant violated the state consumer protection statutes alleged

  herein;

                 (h)     Whether and how much Defendant’s misconduct resulted in economic harm

  to Plaintiffs and the Class members; and

                 (i)     The nature of the relief, including damages and equitable relief, to which

  Plaintiffs and the members of the Class are entitled.




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         C.      Typicality of Claims (Fed. R. Civ. P. 23(a)(3))

         164.    Plaintiffs’ claims are typical of the claims of the Class because Plaintiffs, like all

  other Class members, purchased Defendant’s Baby Food Products, suffered damages as a result of

  that purchase, and seek the same relief as the proposed Class members.

         D.      Adequacy of Representation (Fed. R. Civ. P. 23(a)(4))

         165.    Plaintiffs are adequate representatives of the Class because their interests do not

  conflict with the interests of the members of the Class, and they have retained counsel competent

  and experienced in complex class action and consumer litigation.

         166.    Plaintiffs and their counsel will fairly and adequately protect the interest of the

  members of the Class.

         E.      Superiority of a Class Action (Fed. R. Civ. P. 23(b)(3))

         167.    A class action is superior to other available means for the fair and efficient

  adjudication of the claims of Plaintiffs and members of the Class. There is no special interest in

  Class members individually controlling the prosecution of separate actions. The damages suffered

  by individual members of the Class, while significant, are small given the burden and expense of

  individual prosecution of the complex and extensive litigation necessitated by Defendant’s

  conduct. Further, it would be virtually impossible for the members of the Class individually to

  redress effectively the wrongs done to them. And, even if members of the Class themselves could

  afford such individual litigation, the court system could not, given the thousands or even millions

  of cases that would need to be filed. Individualized litigation would also present a potential for

  inconsistent or contradictory judgments. Individualized litigation would increase the delay and

  expense to all parties and the court system, given the complex legal and factual issues involved.

  By contrast, the class action device presents far fewer management difficulties and provides the



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  benefits of single adjudication, economy of scale, and comprehensive supervision by a single

  court.

           F.     Risk of Inconsistent or Dispositive Adjudications and the Appropriateness of
                  Final Injunctive or Declaratory Relief (Fed. R. Civ. P. 23(b)(1) and (2))

           168.   In the alternative, this action may properly be maintained as a class action, because:

                  (a)    the prosecution of separate actions by individual members of the Class

  would create a risk of inconsistent or varying adjudication with respect to individual Class

  members, which would establish incompatible standards of conduct for Defendant; or

                  (b)    the prosecution of separate actions by individual Class members would

  create a risk of adjudications with respect to individual members of the Class which would, as a

  practical matter, be dispositive of the interests of other members of the Class not parties to the

  adjudications, or substantially impair or impede their ability to protect their interests; or

                  (c)    Defendant has acted or refused to act on grounds generally applicable to the

  Class, thereby making appropriate final injunctive or corresponding declaratory relief with respect

  to the Class as a whole.

           G.     Issue Certification (Fed. R. Civ. P. 23(c)(4))

           169.   In the alternative, the common questions of fact and law, set forth supra,

  are appropriate for issue certification on behalf of the proposed Class.

   VI.     CAUSES OF ACTION

                                    FIRST CAUSE OF ACTION
                                    Breach of Implied Warranty
           (On Behalf of Plaintiffs and the Class or, in the Alternative, the State Classes)


           170.   Plaintiffs repeat and reallege the allegations contained in paragraphs 1-169, as

  though fully set forth herein.


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         171.    Plaintiffs bring this claim individually and on behalf of the Class or, in the

  alternative, each Plaintiff brings this claim individually and on behalf of each state class he or she

  represents.

         172.    At all relevant times, Gerber was the merchant, manufacturer, marketer, warrantor,

  and/or seller of the Baby Food Products. Gerber knew or had reason to know of the specific use

  for which the Baby Food Products were purchased.

         173.    Plaintiffs and the Class members are consumers who purchased the Baby Food

  Products manufactured and marketed by Gerber throughout the United States, as well as through

  Gerber’s website directly.

         174.    An implied warranty that the Baby Food Products were merchantable arose by

  operation of law as part of the sale of the Baby Food Products.

         175.    Gerber impliedly warranted to Plaintiffs and the Class that the Baby Food Products

  were of merchantable quality and fit for their ordinary use and intended purpose, including that

  the food was nutritious and safe for consumption by infants and young children. However, the

  Baby Food Products when sold at all times were not in merchantable condition and were and are

  not fit for the ordinary and intended purpose of providing safe and nutritious food for babies and

  children because Gerber failed to disclose material facts including that: (1) the Gerber Baby Food

  Products contain or were at material risk of containing harmful Heavy Metals; (2) Gerber

  inadequately tested, or never tested, for all Heavy Metals in all the ingredients it uses and/or its

  finished products; and that (3) when Gerber does set internal standards, they allow for the sale of

  Baby Food Products with Heavy Metals in amounts that could cause harm to babies and children

  and at times, the Baby Food Products have failed to meet even those internal standards.




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            176.   Plaintiffs and members of the Class relied on Defendant’s skill and judgment and

  implied warranties when they purchased the Baby Food Products. However, contrary to such

  implied warranties, the Baby Food Products were not of merchantable quality or fit for their

  ordinary use and intended purpose, consumption by infants or young children, as they contained,

  or were at material risk of containing, Heavy Metals and/or other ingredients or contaminants.

            177.   As a consequence, Gerber breached its implied warranties upon selling such Baby

  Food Products, as each product contained or materially risked containing Heavy Metals and/or

  other toxic ingredients or contaminants.

            178.   Gerber cannot disclaim its implied warranty as it knowingly sold unsafe and

  hazardous Baby Food Products.

            179.   Gerber had sufficient notice of its breach of implied warranties as it has, and had,

  exclusive knowledge of manufacturing processes, quality control policies, the physical and

  chemical make-up of the Baby Food Products, and whether the ingredients contained Heavy

  Metals.

            180.   Gerber was also on notice as it was aware of the presence or material risk of the

  Heavy Metals in the Baby Food Products due to its own testing and/or expertise and based on the

  investigation in the HBBF Report that revealed the Baby Food Products as containing various toxic

  Heavy Metals. Additionally, prior to filing of this case, the Subcommittee requested internal

  documents and test results from Gerber as part of its investigation into the presence of Heavy

  Metals in baby foods. Finally, by letter dated March 12, 2021, Plaintiff Mayra Verduzco

  (California) provided pre-suit notice of the breach of warranty claims asserted herein to Defendant

  and by letter dated September 17, 2021, Plaintiff Renee Bryan (Florida) provided pre-suit notice

  of the breach of warranty claims asserted herein to Defendant.



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         181.    Gerber was also provided notice by the numerous class action complaints filed

  against it alleging similar claims. Affording Gerber further opportunity to cure its breach of

  implied warranties would be unnecessary and futile here because Gerber has known of and

  concealed the safety of its Baby Food Products.

         182.    As a direct and proximate result of Gerber’s breach of implied warranty, Plaintiffs

  and members of the Class have been damaged in an amount to be proven at trial.

         183.    Plaintiffs and members of the Class have been excused from performance of any

  warranty obligations as a result of Gerber’s conduct described herein.

         184.    Privity exists because Gerber impliedly warranted to Plaintiffs and members of the

  Class through the packaging that the Baby Food Products were nutritious products safe for

  consumption by infants and young children, but these warranties were false by failing to make any

  mention of the presence or material risk of toxic Heavy Metals.

         185.    Privity also exists as Gerber intended that the packaging and implied warranties

  would be considered by the end purchasers of the Baby Food Products, including Plaintiffs and

  the proposed Class members. Gerber directly marketed to Plaintiffs and the proposed Class

  through its product packaging and they were the intended beneficiaries of the implied warranties.

         186.    As a direct and proximate result of Gerber’s conduct, Plaintiffs and members of the

  Class have suffered damages in that they have purchased Baby Food Products that are worthless

  or worth less than the price they paid and that they would not have purchased at all had they known

  that: 1) the Gerber Baby Food Products contain or were at material risk of containing harmful

  Heavy Metals; (2) Gerber inadequately tested, or never tested, for all Heavy Metals in all the

  ingredients it uses and/or its finished products; and that (3) when Gerber does set internal

  standards, they allow for the sale of Baby Food Products with Heavy Metals in amounts that could



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  cause harm to babies and children and at times, the Baby Food Products have failed to meet even

  those internal standards.

         187.     Plaintiffs and members of the Class seek damages, injunctive and declaratory relief,

  attorneys’ fees, costs, and any other just and proper relief available under the law.


                                      SECOND CAUSE OF ACTION
                             Fraudulent Concealment – Fraud by Omission
                (On Behalf Plaintiffs and the Class or, in the Alternative, the State Classes)

         188.     Plaintiffs repeat and reallege the allegations contained in paragraphs 1-169, as

  though fully set forth herein.

         189.     Plaintiffs bring this claim individually and on behalf of the Class or, in the

  alternative, each Plaintiff brings this claim individually and on behalf of the state class he or she

  represents.

         190.     Gerber failed to disclose material facts to Plaintiffs and the Class including that: (1)

  the Gerber Baby Food Products contain or were at material risk of containing harmful Heavy

  Metals; (2) Gerber inadequately tested, or never tested, for all Heavy Metals in all the ingredients

  it uses and/or its finished products; and that (3) when Gerber does set internal standards, they allow

  for the sale of Baby Food Products with Heavy Metals in amounts that could cause harm to babies

  and children and at times, the Baby Food Products have failed to meet even those internal

  standards.

         191.     Gerber’s packaging creating the impression that the Baby Food Products are

  nutritious products that are safe for consumption by infants and young children was untrue or

  misleading in light of the foregoing material omissions.

         192.     Gerber was under a duty to disclose to Plaintiffs and members of the Class the true

  quality, characteristics, ingredients and suitability of the Products because: (1) Gerber was in a

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  superior position to know the true state of facts about its Baby Food Products; (2) Gerber was in a

  superior position to know the actual ingredients, characteristics, and suitability of the Baby Food

  Products for consumption by babies and young children; (3) Gerber had exclusive knowledge of

  its own test results showing Heavy Metals or the material risk of same in its Baby Food Products;

  (4) Gerber knew that Plaintiffs and members of the Class could not reasonably have been expected

  to learn or discover that the Baby Food Products contained or materially risked containing Heavy

  Metals; (5) Gerber’s packaging created the impression that the Baby Food Products are nutritious

  products that are safe for consumption by infants and young children when it knew this was untrue

  or misleading in light of the foregoing material omissions; and/or (6) Gerber was in a special

  position of public trust as a manufacturer of baby foods.

         193.    Gerber intentionally concealed the presence or material risk of Heavy Metals in the

  Baby Food Products with intent to defraud and deceive Plaintiffs and the Class.

         194.    The facts concealed or not disclosed by Gerber to Plaintiffs and members of the

  Class are material in that a reasonable consumer would have considered them important when

  deciding whether to purchase the Baby Food Products as described above.

         195.    Gerber had the opportunity to disclose the material omissions on the Baby Food

  Products to Plaintiffs and the members of the Class.

         196.    Gerber knew that its omissions were material information that Plaintiffs and the

  Class would have wanted to know and Gerber intentionally omitted and failed to disclose this

  information to induce Plaintiffs and the Class to purchase its Baby Food Products.

         197.    Plaintiffs and the Class did not know or suspect that the Baby Food Products were

  unsafe or contained or materially risked containing Heavy Metals and could not have reasonably




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  discovered the truth about the presence or material risk of Heavy Metals in the Baby Food

  Products.

         198.      Gerber intended that Plaintiffs and the Class rely on its omissions and Plaintiffs and

  the Class justifiably relied on Gerber’s omissions to their detriment. The detriment is evident from

  the true quality, characteristics, and ingredients of the Products.

         199.      As a direct and proximate result of Gerber’s conduct, Plaintiffs and members of the

  Class have suffered damages in that they purchased the Baby Food Products that were worthless

  or worth less than the price they paid and that they would not have purchased at all had they known

  of the material risk and/or presence of Heavy Metals and/or other toxic ingredients.

         200.      Plaintiffs and members of the Class seek damages and punitive damages, injunctive

  and declaratory relief, attorneys’ fees, costs, and any other just and proper relief available under

  the law.

                                         THIRD CAUSE OF ACTION
                                     Quasi Contract/Unjust Enrichment
                (On Behalf of Plaintiffs and the Class or, in the Alternative, the State Classes)

         201.      Plaintiffs repeat and reallege the allegations contained in paragraphs 1-169, as

  though fully set forth herein.

         202.      Plaintiffs bring this claim individually and on behalf of the Class or, in the

  alternative, each Plaintiff brings this claim individually and on behalf of the state class he or she

  represents.

         203.      As alleged herein, Gerber failed to disclose material facts to Plaintiffs and the Class

  including that: (1) the Gerber Baby Food Products contain or were at material risk of containing

  harmful Heavy Metals; (2) Gerber inadequately tested, or never tested, for all Heavy Metals in all

  the ingredients it uses and/or its finished products; and that (3) when Gerber does set internal



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  standards, they allow for the sale of Baby Food Products with Heavy Metals in amounts that could

  cause harm to babies and children and at times, the Baby Food Products have failed to meet even

  those internal standards.

         204.    Gerber’s packaging creating the impression that the Baby Food Products are

  nutritious products that are safe for consumption by infants and young children was untrue or

  misleading in light of the foregoing material omissions.

         205.    Plaintiffs and members of the Class reasonably relied on the material omissions,

  were unaware of the true facts regarding the Baby Food Products and have not received all of the

  benefits promised by Gerber. Plaintiffs and members of the Class therefore have been induced by

  Gerber’s material omissions about the Baby Food Products and paid more money to Gerber for

  the Products than they otherwise would and/or should have paid.

         206.    Plaintiffs and members of the Class have conferred a benefit upon Defendant as

  Gerber has retained monies paid to them by Plaintiffs and members of the Class.

         207.    The monies received were obtained under circumstances that were at the expense

  of Plaintiffs and members of the Class – i.e., Plaintiffs and members of the Class did not receive

  the full value of the benefit conferred upon Gerber.

         208.    Therefore, it is inequitable and unjust for Gerber to retain the profit, benefit, or

  compensation conferred upon it by Plaintiffs and the members of the Class.

         209.    As a direct and proximate result of Gerber’s unjust enrichment, Plaintiffs and

  members of the Class are entitled to restitution, disgorgement, and/or the imposition of a

  constructive trust upon all profits, benefits, and other compensation obtained by Gerber from its

  deceptive, misleading, and unlawful conduct as alleged herein.


                                     FOURTH CAUSE OF ACTION

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                   Violations of California’s Consumers Legal Remedies Act,
                              California Civil Code §§1750, et seq.,
   (On Behalf of Plaintiffs Christopher Craig, Deandra Bryant, and Mayra Verduzco and the
                                        California Class)


         210.     Plaintiffs Christopher Craig, Deandra Bryant, and Mayra Verduzco (the “California

  Plaintiffs”) repeat and reallege the allegations contained in paragraphs 1-169, as though fully set

  forth herein.

         211.     The California Plaintiffs bring this claim individually and on behalf of the

  California Class.

         212.     The California Plaintiffs and each proposed member of the California Class is a

  “consumer,” as that term is defined in California Civil Code § 1761(d).

         213.     The Baby Foods Products are “goods,” as that term is defined in California Civil

  Code § 1761(a).

         214.     Gerber is a “person” as that term is defined in California Civil Code § 1761(c).

         215.     The California Plaintiffs and each California Class member’s purchase of the Baby

  Food Products constituted a “transaction” as that term is defined in California Civil Code §

  1761(e).

         216.     As alleged herein, Gerber failed to disclose material facts to the California Plaintiffs

  and the California Class including that: (1) the Gerber Baby Food Products contain or were at

  material risk of containing harmful Heavy Metals; (2) Gerber inadequately tested, or never tested,

  for all Heavy Metals in all the ingredients it uses and/or its finished products; and that (3) when

  Gerber does set internal standards, they allow for the sale of Baby Food Products with Heavy

  Metals in amounts that could cause harm to babies and children and at times, the Baby Food

  Products have failed to meet even those internal standards.



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         217.    Gerber’s packaging created the impression that the Baby Food Products are

  nutritious products that are safe and suitable for consumption by infants and young children that

  was untrue or misleading in light of the foregoing material omissions.

         218.    Gerber’s conduct alleged herein violates the following provisions of California’s

  Consumers Legal Remedies Act (the “CLRA”): California Civil Code § 1770(a)(5), by

  representing that the Baby Food Products have characteristics, uses, and benefits that they do not

  have; California Civil Code § 1770(a)(7), by representing that the Baby Food Products are of a

  particular standard, quality, or grade, when they are of another; California Civil Code § 1770(a)(9),

  by advertising the Baby Food Products with intent not to sell them as advertised; and California

  Civil Code § 1770(a)(16), by representing that the Baby Food Products have been supplied in

  accordance with previous representations when they have not.

         219.    The facts concealed or not disclosed by Gerber to the California Plaintiffs and

  members of the California Class are material in that a reasonable consumer would have considered

  them important when deciding whether to purchase the Baby Food Products as described above.

         220.    Gerber knew that its omissions of fact were material information that the California

  Plaintiffs and the California Class would have wanted to know and Gerber intentionally omitted

  and failed to disclose this information to induce the California Plaintiffs and the California Class

  to purchase its Baby Food Products.

         221.    Reasonable consumers, including the California Plaintiffs and the California Class,

  did not know or suspect that the Baby Food Products were unsafe or contained or materially risked

  containing Heavy Metals.

         222.    By letters dated March 12, 2021, Plaintiff Verduzco provided Gerber with pre-suit

  notice of the claims asserted herein on behalf of herself and the members of the California Class.



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  More than 30 days have passed and Defendant has not remedied the violations of law asserted in

  the pre-suit notice. Accordingly, Plaintiff Verduzco seeks damages on behalf of herself and the

  California Class.

         223.     As a direct and proximate result of these violations, the California Plaintiffs and the

  California Class have been harmed, and that harm will continue unless Gerber is enjoined from

  using the misleading practices described herein in any manner in connection with the advertising

  and sale of the Baby Food Products.

         224.     Gerber’s conduct is ongoing and continuing, such that prospective injunctive relief

  is necessary.

         225.     As a direct and proximate result of Gerber’s conduct, the California Plaintiffs and

  members of the California Class have suffered damages in that they purchased Baby Food Products

  that were worthless or worth less than the price they paid and that they would not have purchased

  at all had they known of the material risk and/or presence of Heavy Metals and/or other toxic

  ingredients.

         226.     Plaintiff Verduzo, on behalf of herself and the California Class, seeks all available

  monetary relief, including actual and punitive damages and restitution, reasonable attorneys’ fees

  and costs, and all California Plaintiffs, on behalf of themselves and the California Class, seek an

  order enjoining Gerber’s illegal practices as alleged herein.

                                   FIFTH CAUSE OF ACTION
                        Violations of California’s False Advertising Law,
                     California Business & Professions Code §§17500, et seq.,
                  (On Behalf of the California Plaintiffs and the California Class)


         227.     The California Plaintiffs repeat and reallege the allegations contained in paragraphs

  1-169 as though fully set forth herein.



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         228.    The California Plaintiffs bring this claim individually and on behalf of the

  California Class.

         229.    California’s False Advertising Law prohibits any statement in connection with the

  sale of goods “which is untrue or misleading.” Cal. Bus. & Prof. Code §17500.

         230.    As alleged herein, Gerber failed to disclose material facts to the California Plaintiffs

  and the California Class including that: (1) the Gerber Baby Food Products contain or were at

  material risk of containing harmful Heavy Metals; (2) Gerber inadequately tested, or never tested,

  for all Heavy Metals in all the ingredients it uses and/or its finished products; and that (3) when

  Gerber does set internal standards, they allow for the sale of Baby Food Products with Heavy

  Metals in amounts that could cause harm to babies and children and at times, the Baby Food

  Products have failed to meet even those internal standards.

         231.    Gerber’s packaging creating the impression that the Baby Food Products are

  nutritious products that are safe for consumption by infants and young children was untrue or

  misleading in light of the foregoing material omissions.

         232.    Additionally, Gerber knew, or reasonably should have known, that its omissions

  rendered its packaging untrue or misleading and that the omissions were material to reasonable

  consumers.

         233.    The facts concealed or not disclosed by Gerber to the California Plaintiffs and

  members of the California Class are material in that a reasonable consumer would have considered

  them important when deciding whether to purchase the Baby Food Products as described

  hereinabove.

         234.    Gerber knew that its omissions were material information that the California

  Plaintiffs and the California Class would have wanted to know and Gerber intentionally omitted



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  and failed to disclose this information to induce the California Plaintiffs and the California Class

  to purchase its Baby Food Products.

         235.     The California Plaintiffs did not know or suspect that the Baby Food Products were

  unsafe or contained or materially risked containing Heavy Metals.

         236.     As a direct and proximate result of these violations, the California Plaintiffs and the

  California Class have been harmed, and that harm will continue unless Gerber is enjoined from

  using the misleading marketing described herein in any manner in connection with the advertising

  and sale of the Baby Food Products.

         237.     Gerber’s conduct is ongoing and continuing, such that prospective injunctive relief

  is necessary.

         238.     As a direct and proximate result of Gerber’s conduct, the California Plaintiffs and

  members of the California Class have suffered damages in that they purchased the Baby Food

  Products that were worthless or worth less than the price they paid and that they would not have

  purchased at all had they known of the material risk and/or presence of Heavy Metals and/or other

  toxic ingredients.

         239.     The California Plaintiffs, on behalf of themselves and the California Class, seek all

  available equitable relief, including restitution, declaratory and injunctive relief, and reasonable

  attorneys’ fees and costs pursuant to California Code of Civil Procedure § 1021.5.

                                   SIXTH CAUSE OF ACTION
                       Violations of California’s Unfair Competition Law,
                     California Business & Professions Code §§17200, et seq.,
                  (On Behalf of the California Plaintiffs and the California Class)


         240.     The California Plaintiffs repeat and reallege the allegations contained in paragraphs

  1-169 as though fully set forth herein.



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         241.    The California Plaintiffs bring this claim individually and on behalf of the

  California Class.

         242.    The Unfair Competition Law prohibits any “unlawful, unfair or fraudulent business

  act or practice.” Cal. Bus. & Prof. Code §17200:

         Fraudulent

         243.    As alleged herein, Gerber failed to disclose material facts to the California Plaintiffs

  and the California Class, including that: (1) the Gerber Baby Food Products contain or were at

  material risk of containing harmful Heavy Metals; (2) Gerber inadequately tested, or never tested,

  for all Heavy Metals in all the ingredients it uses and/or its finished products; and that (3) when

  Gerber does set internal standards, they allow for the sale of Baby Food Products with Heavy

  Metals in amounts that could cause harm to babies and children and at times, the Baby Food

  Products have failed to meet even those internal standards.

         244.    Gerber’s packaging creating the impression that the Baby Food Products are

  nutritious products that are safe for consumption by infants and young children was untrue or

  misleading in light of the foregoing material omissions.

         245.    Gerber’s omissions are false and likely to deceive reasonable consumers, including

  the California Plaintiffs and the California Class.

         Unlawful

         246.    Gerber’s’ actions as alleged herein violate at least the following laws:

         (a)     The CLRA, California Business & Professions Code § 1750, et seq.;

         (b)     The False Advertising Law, California Business & Professions Code § 17500, et

  seq.; and

          (c)    Song-Beverly Consumer Warranty Act, Cal. Civil Code § 1790, et seq.



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           Unfair

           247.     Gerber’s conduct with respect to the packaging, advertising, marketing, and sale of

  the Baby Food Products is unfair because Defendant’s conduct was immoral, unethical,

  unscrupulous, or substantially injurious to consumers and the utility of their conduct, if any, does

  not outweigh the gravity of the harm to their victims.

           248.     Gerber’s conduct with respect to the packaging, advertising, marketing, and sale of

  the Baby Food Products is also unfair because it violates public policy as declared by specific

  constitutional, statutory, or regulatory provisions, including, but not limited to, the False

  Advertising Law and the CLRA.

           249.     Gerber’s conduct with respect to the packaging, advertising, marketing, and sale of

  the Baby Food Products is also unfair because the consumer injury is substantial, not outweighed

  by benefits to consumers or competition, and not one that consumers themselves can reasonably

  avoid.

           250.     The facts concealed or not disclosed by Gerber to the California Plaintiffs and

  members of the California Class are material in that a reasonable consumer would have considered

  them important when deciding whether to purchase the Baby Food Products as described

  hereinabove.

           251.     Gerber knew that its omissions were material information that the California

  Plaintiffs and the California Class would have wanted to know and Gerber intentionally omitted

  and failed to disclose this information to induce the California Plaintiffs and the California Class

  to purchase its Baby Food Products.




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         252.    The California Plaintiffs did not know or suspect that the Baby Food Products were

  unsafe or contained or materially risked containing Heavy Metals.

         253.    Gerber’s conduct was also unfair because it placed into the marketplace Baby Food

  Products that it knew contained or were at a material risk of containing harmful Heavy Metals, and

  because it did not test all ingredients, or finished products, for all Heavy Metals. Further, when

  Gerber does set internal standards, they allow for the sale of Baby Food Products with Heavy

  Metals in amounts that could cause harm to babies and children and at times, the Baby Food

  Products have failed to meet even those internal standards. Such conduct is immoral, unethical,

  unscrupulous, or substantially injurious to consumers and the utility of their conduct, if any, does

  not outweigh the gravity of the harm to their victims. Such conduct also violates public policy as

  declared by specific constitutional, statutory, or regulatory provisions. Gerber’s conduct is also

  unfair because the consumer injury is substantial, not outweighed by benefits to consumers or

  competition, and not one that consumers themselves can reasonably avoid.

         254.    There were reasonably available alternatives to further Gerber’s legitimate business

  interests, other than the conduct described herein.

         255.    As a result of Gerber’s practices, the California Plaintiffs have suffered injury in

  fact and lost money. Further, Gerber’s unfair business practices are ongoing and continuing and

  California Plaintiffs and the California Class will continue to suffer harm unless Gerber is enjoined

  from the unfair business practices alleged herein.

         256.    The California Plaintiffs, on behalf of themselves and the California Class, seek all

  available equitable relief, including restitution, declaratory and injunctive relief, and reasonable

  attorneys’ fees and costs pursuant to California Code of Civil Procedure § 1021.5.


                                 SEVENTH CAUSE OF ACTION

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                Violations of California’s Song-Beverly Consumer Warranty Act
                                   Cal. Civ. Code § 1790, et seq.
                (On Behalf of the California Plaintiffs and the California Class)


         257.      The California Plaintiffs repeat and reallege the allegations contained in paragraphs

   1-169 as though fully set forth herein.

         258.      This claim is brought by the California Plaintiffs individually on behalf of

   themselves and on behalf of the California Class.

         259.      Gerber’s Baby Food Products are and were at all relevant times consumer goods

   within the meaning of Cal. Civ. Code § 1791(a).

         260.      The California Plaintiffs and the members of the California Class are and were at

   all relevant times buyers within the meaning of Cal. Civ. Code § 1791(b).

         261.      Gerber is and was at all relevant times a manufacturer as defined by Cal. Civ. Code

   § 1791(j). At the time of purchase Gerber was in the business of selling consumer goods for sale

   to consumers.

         262.      A warranty that the Baby Food Products were in merchantable condition and fit for

   consumption is implied by law pursuant to Cal. Civ. Code §§ 1791.1 & 1792.

         263.      The California Plaintiffs and the members of the California Class purchased the

   Baby Food Products manufactured and marketed by Gerber by and through Gerber’s authorized

   sellers for retail or online. At all relevant times, Gerber was the merchant, manufacturer,

   marketer, warrantor, and/or seller of the Baby Food Products and knew or had reason to know of

   the specific use for which they were purchased.

         264.      Gerber impliedly warranted to the California Plaintiffs and the California Class that

  the Baby Food Products were of merchantable quality and fit for their ordinary use and intended

  purpose, including that the food was nutritious and safe for consumption by infants and young

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  children. However, the Baby Food Products when sold at all times were not in merchantable

  condition and were and are not fit for the ordinary and intended purpose of providing safe and

  nutritious food for babies and children because Gerber failed to disclose material facts including

  that: (1) the Gerber Baby Food Products contain or were at material risk of containing harmful

  Heavy Metals; (2) Gerber inadequately tested, or never tested, for all Heavy Metals in all the

  ingredients it uses and/or its finished products; and that (3) when Gerber does set internal

  standards, they allow for the sale of Baby Food Products with Heavy Metals in amounts that could

  cause harm to babies and children and at times, the Baby Food Products have failed to meet even

  those internal standards.

         265.    The California Plaintiffs and members of the California Class relied on Defendant’s

   skill and judgment and implied warranties when they purchased the Baby Food Products.

   However, contrary to such implied warranties, the Baby Food Products were not of merchantable

   quality or fit for their ordinary use and intended purpose, consumption by infants or young

   children, as they contained, or were at material risk of containing, Heavy Metals and/or other

   ingredients or contaminants.

         266.    As a consequence, Gerber breached its implied warranties upon selling such Baby

   Food Products, as each product contained or materially risked containing Heavy Metals and/or

   other toxic ingredients or contaminants.

         267.    Gerber cannot disclaim its implied warranty as it knowingly sold unsafe and

   hazardous Baby Food Products.

         268.    Gerber had sufficient notice of its breach of implied warranties as it has, and had,

  exclusive knowledge of manufacturing processes, quality control policies, the physical and




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  chemical make-up of the Baby Food Products, and whether the ingredients contained Heavy

  Metals.

            269.   Gerber was also on notice as it was aware of the presence or material risk of the

   Heavy Metals in the Baby Food Products due to its own testing and/or expertise, and based on

   the investigation in the HBBF Report that revealed the Baby Food Products as containing various

   toxic Heavy Metals. Additionally, prior to filing of this case, the Subcommittee requested internal

   documents and test results from Gerber as part of its investigation into the presence of Heavy

   Metals in baby foods.

            270.   Gerber was also provided notice by the numerous class action complaints filed

   against it.

            271.      Affording Gerber further opportunity to cure its breach of implied warranties

   would be unnecessary and futile here because Gerber has known of and concealed the safety of

   its Baby Food Products.

            272.   As a direct and proximate result of Gerber’s breach of implied warranty, the

   California Plaintiffs and members of the California Class have been damaged in an amount to be

   proven at trial.

            273.   The California Plaintiffs and members of the California Class have been excused

   from performance of any warranty obligations as a result of Gerber’s conduct described herein.

            274.   Privity exists because Gerber impliedly warranted to the California Plaintiffs and

   members of the California Class through the packaging that the Baby Food Products were

   nutritious products safe for consumption by infants and young children, but these warranties were

   false by failing to make any mention of the presence or material risk of toxic Heavy Metals.




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         275.     As a direct and proximate result of Gerber’s conduct, the California Plaintiffs and

   members of the California Class have suffered damages in that they have purchased Baby Food

   Products that are worthless or worth less than the price they paid and that they would not have

   purchased at all had they known the presence or material risk of Heavy Metals and/or other toxic

   ingredients.

         276.     The California Plaintiffs and members of the California Class seek damages,

   injunctive and declaratory relief, attorneys’ fees, costs, and any other just and proper relief

   available under the law.

                                     EIGHTH CAUSE OF ACTION
                   Violation of Florida’s Deceptive and Unfair Trade Practices Act
                                       Fla. Stat. §§ 501.201, et seq.
             (On Behalf of Plaintiffs Renee Bryan, Jennifer Gaetan, Vanessa Inoa, and the
                                              Florida Class)


         277.     Plaintiffs Renee Bryan, Jennifer Gaetan, and Vanessa Inoa (the “Florida Plaintiffs”)

  repeat and reallege the allegations contained in paragraphs 1-169 as though fully set forth herein.

         278.     The Florida Plaintiffs bring this claim individually and on behalf of the Florida

  Class for violations of Florida Deceptive and Unfair Trade Practices Act, (“FDUTPA”), Fla. Stat.

  §§ 501.201 et seq.

         279.     The Florida Plaintiffs and the members of the Florida Class are “consumers,” as

  defined by Fla. Stat. § 501.203(7), the Baby Food Products sold by Gerber are “good[s]” and the

  transactions at issue constitute “trade or commerce” as defined by Fla. Stat. § 501.203(8) in that

  Gerber advertised, offered for sale, sold or distributed goods or services in Florida and/or engaged

  in trade or commerce directly or indirectly affecting the people of Florida.




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         280.     Fla.    Stat. § 501.204 provides that “[u]nfair methods of competition,

  unconscionable acts or practices, and unfair or deceptive acts or practices in the conduct of any

  trade or commerce are hereby declared unlawful.”

         281.    For the reasons discussed herein, Gerber violated and continues to violate FDUTPA

  by engaging in the herein described unconscionable, deceptive, unfair acts or practices proscribed

  by FDUTPA. Gerber’s acts and practices, including its material omissions described herein, were

  likely to, and did in fact, deceive and mislead members of the public, including the Florida

  Plaintiffs and the members of the Florida Class to their detriment.

         282.    As alleged herein, Gerber failed to disclose material facts to the Florida Plaintiffs

  and the Florida Class including that: (1) the Gerber Baby Food Products contain or were at material

  risk of containing harmful Heavy Metals; (2) Gerber inadequately tested, or never tested, for all

  Heavy Metals in all the ingredients it uses and/or its finished products; and that (3) when Gerber

  does set internal standards, they allow for the sale of Baby Food Products with Heavy Metals in

  amounts that could cause harm to babies and children and at times, the Baby Food Products have

  failed to meet even those internal standards.

         283.    Gerber’s packaging creating the impression that the Baby Food Products are

  nutritious products that are safe for consumption by infants and young children was untrue or

  misleading in light of the foregoing material omissions.

         284.    The facts concealed or not disclosed by Gerber to the Florida Plaintiffs and

  members of the Florida Class are material in that a reasonable consumer would have considered

  them important when deciding whether to purchase the Baby Food Products as described

  hereinabove.




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         285.    Gerber knew that its omissions were material information that the Florida Plaintiffs

  and the Florida Class would have wanted to know, and Gerber intentionally omitted and failed to

  disclose this information to induce the Florida Plaintiffs and the Florida Class to purchase its Baby

  Food Products.

         286.    The Florida Plaintiffs did not know or suspect that the Baby Food Products were

  unsafe or contained or materially risked containing Heavy Metals.

         287.    As a direct and proximate result of these violations, the Florida Plaintiffs and the

  Florida Class have been harmed, and that harm will continue unless Gerber is enjoined from using

  the misleading marketing described herein in any manner in connection with the advertising and

  sale of the Baby Food Products.

         288.    As a direct and proximate result of Gerber’s conduct, the Florida Plaintiffs and

  members of the Florida Class have suffered damages in that they purchased the Baby Food

  Products that were worthless or worth less than the price they paid and that they would not have

  purchased at all had they known of the material risk and/or presence of Heavy Metals and/or other

  toxic ingredients.

         289.    The Florida Plaintiffs and the members of the Florida Class seek relief for the

  injuries they have suffered as a result of Gerber’s unfair and deceptive acts and practices, as

  provided by FDUTPA and applicable law, including actual damages under Fla. Stat. § 501.211(2)

  and attorneys' fees under Fla. Stat. § 501.2105(1).

                                   NINTH CAUSE OF ACTION
          Violations of Illinois’ Consumer Fraud and Deceptive Business Practices Act
                                  815 Ill. Comp. Stat. 505/1, et seq.,
              (On Behalf of Plaintiff Charlotte Willoughby and the Illinois Class)




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         290.    Plaintiff Charlotte Willoughby (the “Illinois Plaintiff”) repeats and realleges the

  allegations contained in paragraphs 1-169 as though fully set forth herein.

         291.     The Illinois Plaintiff brings this claim individually and on behalf of the Illinois

  Class for violations of the Illinois Consumer Fraud and Deceptive Business Practices Act, 815 Ill.

  Comp. Stat. 505/1, et seq. (“ICFA”).

         292.    ICFA 505/2 § 2 states that “[u]nfair methods of competition and unfair or deceptive

  acts or practices . . . in the conduct of any trade or commerce are hereby declared unlawful whether

  any person has in fact been misled, deceived, or damaged thereby.”

         293.    Gerber engaged in a deceptive act or practice in violation of ICFA in that, as alleged

  herein, Gerber failed to disclose material facts to the Illinois Plaintiff and the Illinois Class

  including that: (1) the Gerber Baby Food Products contain or were at material risk of containing

  harmful Heavy Metals; (2) Gerber inadequately tested, or never tested, for all Heavy Metals in all

  the ingredients it uses and/or its finished products; and that (3) when Gerber does set internal

  standards, they allow for the sale of Baby Food Products with Heavy Metals in amounts that could

  cause harm to babies and children and at times, the Baby Food Products have failed to meet even

  those internal standards.

         294.    Gerber’s packaging creating the impression that the Baby Food Products are

  nutritious products that are safe for consumption by infants and young children was untrue or

  misleading in light of the foregoing material omissions.

         295.    The facts concealed or not disclosed by Gerber to the Illinois Plaintiff and members

  of the Illinois Class are material in that a reasonable consumer would have considered them

  important when deciding whether to purchase the Baby Food Products as described herein above.




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         296.     Gerber knew that its omissions were material information that the Illinois Plaintiff

  and the Illinois Class would have wanted to know and Gerber intentionally omitted and failed to

  disclose this information to induce the Illinois Plaintiff and the Illinois Class to purchase its Baby

  Food Products.

         297.     The Illinois Plaintiff did not know or suspect that the Baby Food Products were

  unsafe or contained or materially risked containing Heavy Metals.

         298.     Gerber intended for the Illinois Plaintiff and the Illinois Class members to rely on

  its material omissions in deciding whether to purchase the Baby Food Products and at what price.

         299.     Gerber’s concealment, material omissions, and other deceptive conduct were likely

  to deceive consumers with respect to the presence or material risk of Heavy Metals in the Baby

  Food Products.

         300.     Gerber’s concealment, material omissions, and other deceptive conduct did in fact

  deceive the Illinois Plaintiff and the Illinois Class with respect to the presence or material risk of

  Heavy Metals in the Baby Food Products.

         301.     Gerber’s concealment, material omissions, and other deceptive conduct described

  herein repeatedly occurred in Gerber’s trade or business and were capable of deceiving a

  substantial portion of the consuming public.

         302.     As a direct and proximate result of these violations, the Illinois Plaintiff and the

  Illinois Class have been harmed, and that harm will continue unless Gerber is enjoined from using

  the misleading marketing described herein in any manner in connection with the advertising and

  sale of the Baby Food Products.

         303.     Gerber’s conduct is ongoing and continuing, such that prospective injunctive relief

  is necessary.



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         304.    As a direct and proximate result of Gerber’s conduct, the Illinois Plaintiff and

  members of the Illinois Class have suffered damages in that they purchased the Baby Food

  Products that were worthless or worth less than the price they paid and that they would not have

  purchased at all had they known of the material risk and/or presence of Heavy Metals and/or other

  toxic ingredients.

         305.    As a direct and proximate result of the deceptive, misleading, unfair, and

  unconscionable practices of Gerber set forth above, the Illinois Plaintiff and the Illinois Class

  members are entitled to actual damages, compensatory damages, penalties, attorneys’ fees, and

  costs, as set forth in Section 1 of the ICFA.

         306.    Gerber’s deceptive, misleading, unfair, and unconscionable practices set forth

  above were done willfully, wantonly, and maliciously entitling the Illinois Plaintiff and the Illinois

  Class members to an award of punitive damages.

                                 TENTH CAUSE OF ACTION
                  Violations of New York’s Deceptive Acts and Practices Act
                                   N.Y. Gen. Bus. Law § 349
      (On Behalf of Plaintiffs Angelique Velez, Danielle Visconti and the New York Class)


         307.    Plaintiffs Angelique Velez and Danielle Visconti (the “New York Plaintiffs”)

  repeat and reallege the allegations contained in paragraphs 1-169, as though fully set forth herein.

         308.    The New York Plaintiffs bring this claim individually and on behalf of the members

  of the New York Class for violations of the New York Deceptive Acts and Practices Act

  (“NYDAPA”), N.Y. Gen. Bus. Law § 349.

         309.    The New York Plaintiffs and the members of the New York Class and Gerber are

  “persons” under NYDAPA. N.Y. Gen. Bus. Law § 349(h).




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         310.    Gerber’s actions as set forth herein occurred in the conduct of trade or commerce

  under NYDAPA and the sale and distribution of the Baby Food Products was and is a consumer-

  oriented acted and thereby falls under the NYDAPA.

         311.    The NYDAPA makes unlawful “[d]eceptive acts or practices in the conduct of any

  business, trade or commerce.” N.Y. Gen. Bus. Law § 349.

         312.    Gerber’s conduct as set forth herein, constitutes deceptive acts or practices under

  this section. As alleged herein, Gerber failed to disclose material facts to the New York Plaintiffs

  and the New York Class including that: (1) the Gerber Baby Food Products contain or were at

  material risk of containing harmful Heavy Metals; (2) Gerber inadequately tested, or never tested,

  for all Heavy Metals in all the ingredients it uses and/or its finished products; and that (3) when

  Gerber does set internal standards, they allow for the sale of Baby Food Products with Heavy

  Metals in amounts that could cause harm to babies and children and at times, the Baby Food

  Products have failed to meet even those internal standards.

         313.    Gerber’s packaging creating the impression that the Baby Food Products are

  nutritious products that are safe for consumption by infants and young children was untrue or

  misleading in light of the foregoing material omissions.

         314.    Gerber intentionally and knowingly failed to disclose material facts regarding its

  Baby Food Products with intent to mislead the New York Plaintiffs and members of the New York

  Class and breached their duty not to do so.

         315.    The facts concealed or not disclosed by Gerber to the New York Plaintiffs and

  members of the New York Class are material in that a reasonable consumer would have considered

  them important when deciding whether to purchase the Baby Food Products as described

  hereinabove.



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         316.     Gerber knew that its omissions were material information that the New York

  Plaintiffs and the New York Class would have wanted to know and Gerber intentionally omitted

  and failed to disclose this information to induce the New York Plaintiffs and the New York Class

  to purchase its Baby Food Products.

         317.     The New York Plaintiffs did not know or suspect that the Baby Food Products were

  unsafe or contained or materially risked containing Heavy Metals.

         318.     Gerber’s concealment, material omissions, and other deceptive conduct were likely

  to deceive consumers with respect to the presence or material risk of Heavy Metals in the Baby

  Food Products.

         319.     Gerber’s concealment, material omissions, and other deceptive conduct did in fact

  deceive the New York Plaintiffs and the New York Class with respect to the presence or material

  risk of Heavy Metals in the Baby Food Products.

         320.     Gerber’s concealment, material omissions, and other deceptive conduct described

  herein repeatedly occurred in Gerber’s trade or business and were capable of deceiving a

  substantial portion of the consuming public.

         321.     As a direct and proximate result of these violations, the New York Plaintiffs and

  the New York Class have been harmed, and that harm will continue unless Gerber is enjoined from

  using the misleading marketing described herein in any manner in connection with the advertising

  and sale of the Baby Food Products.

         322.     Gerber’s conduct is ongoing and continuing, such that prospective injunctive relief

  is necessary.

         323.     As a direct and proximate result of Gerber’s conduct, the New York Plaintiffs and

  members of the New York Class have suffered damages and an ascertainable loss in that they



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  purchased the Baby Food Products that were worthless or worth less than the price they paid and

  that they would not have purchased at all had they known of the material risk and/or presence of

  Heavy Metals and/or other toxic ingredients.

         324.    The New York Plaintiffs and members of the New York Class seek relief for the

  injuries they have suffered as a result of Gerber’s unfair and deceptive acts and practices, as

  provided by the NYDAPA and applicable law, including actual damages, statutory damages,

  injunctive relief, and attorneys’ fees and costs.

                               ELEVENTH CAUSE OF ACTION
          Violations of New York’s False Advertising Act N.Y. Gen. Bus. Law § 350
      (On Behalf of Plaintiffs Angelique Velez, Danielle Visconti and the New York Class)


         325.    The New York Plaintiffs repeat and reallege the allegations contained in paragraphs

  1-169, as though fully set forth herein.

         326.    The New York Plaintiffs bring this claim individually and on behalf of the members

  of the New York Class for violations of the New York False Advertising Act (“NYFAA”), N.Y.

  Gen. Bus. Law § 350.

         327.    The NYFAA makes unlawful “[f]alse advertising in the conduct of any business,

  trade or commerce.” N.Y. Gen. Bus. Law § 350. “False” includes “advertising, including labeling

  of a commodity ... if such advertising is misleading in a material respect,” taking into account “the

  extent to which the advertising fails to reveal facts material in light of ... representations [made]

  with respect to the commodity...” N.Y. Gen. Bus. Law § 350(a).

         328.    Gerber caused to be made or disseminated throughout New York, through

  advertising and marketing on the packaging, material omissions that were untrue or misleading,

  and that were known or should have been known through the exercise of reasonable care by Gerber

  to be untrue and misleading.

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         329.    Gerber made numerous material omissions of fact with intent to mislead and

  deceive consumers concerning its Baby Food Products. Specifically, as alleged herein, Gerber

  failed to disclose material facts to the New York Plaintiffs and the New York Class including that:

  (1) the Gerber Baby Food Products contain or were at material risk of containing harmful Heavy

  Metals; (2) Gerber inadequately tested, or never tested, for all Heavy Metals in all the ingredients

  it uses and/or its finished products; and that (3) when Gerber does set internal standards, they allow

  for the sale of Baby Food Products with Heavy Metals in amounts that could cause harm to babies

  and children and at times, the Baby Food Products have failed to meet even those internal

  standards.

         330.    Gerber’s packaging creating the impression that the Baby Food Products are

  nutritious products that are safe for consumption by infants and young children was untrue or

  misleading in light of the foregoing material omissions. Gerber intentionally and knowingly failed

  to disclose material facts regarding its Baby Food Products with intent to mislead the New York

  Plaintiffs and members of the New York Class and breached their duty not to do so.

         331.    The facts concealed or not disclosed by Gerber to the New York Plaintiffs and

  members of the New York Class are material in that a reasonable consumer would have considered

  them important when deciding whether to purchase the Baby Food Products as described

  hereinabove.

         332.    Gerber knew that its omissions were material information that the New York

  Plaintiffs and the New York Class would have wanted to know and Gerber intentionally omitted

  and failed to disclose this information to induce the New York Plaintiffs and the New York Class

  to purchase its Baby Food Products.




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         333.     The New York Plaintiffs did not know or suspect that the Baby Food Products were

  unsafe or contained or materially risked containing Heavy Metals.

         334.     Gerber’s concealment, material omissions, and other deceptive conduct were likely

  to deceive consumers with respect to the presence or material risk of Heavy Metals in the Baby

  Food Products.

         335.     Gerber’s concealment, material omissions, and other deceptive conduct did in fact

  deceive the New York Plaintiffs and the New York Class with respect to the presence or material

  risk of Heavy Metals in the Baby Food Products.

         336.     Gerber’s concealment, material omissions, and other deceptive conduct described

  herein repeatedly occurred in Gerber’s trade or business and were capable of deceiving a

  substantial portion of the consuming public.

         337.     As a direct and proximate result of these violations, the New York Plaintiffs and

  the New York Class have been harmed, and that harm will continue unless Gerber is enjoined from

  using the misleading marketing described herein in any manner in connection with the advertising

  and sale of the Baby Food Products.

         338.     Gerber’s conduct is ongoing and continuing, such that prospective injunctive relief

  is necessary.

         339.     As a direct and proximate result of Gerber’s conduct, the New York Plaintiffs and

  members of the New York Class have suffered damages and an ascertainable loss in that they

  purchased the Baby Food Products that were worthless or worth less than the price they paid and

  that they would not have purchased at all had they known of the material risk and/or presence of

  Heavy Metals and/or other toxic ingredients.




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         340.    The New York Plaintiffs and members of the New York Class seek relief for the

  injuries they have suffered as a result of Gerber’s unfair and deceptive acts and practices, as

  provided by the NYFAA and applicable law, including actual damages, statutory damages,

  injunctive relief, and attorneys’ fees and costs.

                                   TWELFTH CAUSE OF ACTION
             Violations of Texas’ Deceptive Trade Practices and Consumer Protection Act
                                Tex. Bus. & Com. Code §§ 17.41, et seq.
              (On Behalf of Plaintiffs Jessica Moore, Janice Wilson, and the Texas Class)


         341.    Plaintiffs Jessica Moore and Janice Wilson (the “Texas Plaintiffs”) repeat and

  reallege the allegations contained in paragraphs 1-169, as though fully set forth herein.

         342.    The Texas Plaintiffs bring this claim individually and on behalf of the members of

  the Texas Class for violations of Texas Deceptive Trade Practices and Consumer Protection Act

  (“TDTPA”), Tex. Bus. & Com. Code §§ 17.41 et seq.

         343.    Plaintiff Moore provided written notice of the specific complaint and damages to

  Gerber, in accordance with Tex. Bus. & Com. Code § 17.05, by letter dated February 23, 2021.

  Gerber did not favorably respond within 60 days of the notice. Alternatively, further notice by or

  on behalf of any Texas Class member would be futile and is excused.

         344.    At all material times herein, Gerber engaged in “trade” or “commerce” as defined

  by the TDTPA.

         345.    The TDTPA, Tex. Bus. & Com. Code § 17.46, makes it unlawful to commit

  “[f]alse, misleading, and deceptive acts or practices in the conduct of any trade or commerce.”

         346.    For the reasons discussed herein, Gerber violated and continues to violate the

  TDTPA by making material omissions of fact with intent to mislead and deceive consumers

  concerning its Baby Food Products. Specifically, as alleged herein, Gerber failed to disclose



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  material facts to the Texas Plaintiffs and the Texas Class including that: (1) the Gerber Baby Food

  Products contain or were at material risk of containing harmful Heavy Metals; (2) Gerber

  inadequately tested, or never tested, for all Heavy Metals in all the ingredients it uses and/or its

  finished products; and that (3) when Gerber does set internal standards, they allow for the sale of

  Baby Food Products with Heavy Metals in amounts that could cause harm to babies and children

  and at times, the Baby Food Products have failed to meet even those internal standards.

         347.    Gerber’s packaging creating the impression that the Baby Food Products are

  nutritious products that are safe for consumption by infants and young children was untrue or

  misleading in light of the foregoing material omissions. Gerber intentionally and knowingly failed

  to disclose material facts regarding its Baby Food Products with intent to mislead the Texas

  Plaintiffs and members of the Texas Class and breached their duty not to do so.

         348.    The facts concealed or not disclosed by Gerber to the Texas Plaintiffs and members

  of the Texas Class are material in that a reasonable consumer would have considered them

  important when deciding whether to purchase the Baby Food Products as described hereinabove.

         349.    Gerber knew that its omissions were material information that the Texas Plaintiffs

  and the Texas Class would have wanted to know and Gerber intentionally omitted and failed to

  disclose this information to induce the Texas Plaintiffs and the Texas Class to purchase its Baby

  Food Products.

         350.    The Texas Plaintiffs did not know or suspect that the Baby Food Products were

  unsafe or contained or materially risked containing Heavy Metals.

         351.    Gerber’s concealment, material omissions, and other deceptive conduct were likely

  to deceive consumers with respect to the presence or material risk of Heavy Metals in the Baby

  Food Products.



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         352.     Gerber’s concealment, material omissions, and other deceptive conduct did in fact

  deceive the Texas Plaintiffs and the Texas Class with respect to the presence or material risk of

  Heavy Metals in the Baby Food Products.

         353.     Gerber’s concealment, omissions, and other deceptive conduct described herein

  repeatedly occurred in Gerber’s trade or business and were capable of deceiving a substantial

  portion of the consuming public.

         354.     As a direct and proximate result of these violations, the Texas Plaintiffs and the

  Texas Class have been harmed, and that harm will continue unless Gerber is enjoined from using

  the misleading marketing described herein in any manner in connection with the advertising and

  sale of the Baby Food Products.

         355.     Gerber’s conduct is ongoing and continuing, such that prospective injunctive relief

  is necessary.

         356.     As a direct and proximate result of Gerber’s conduct, the Texas Plaintiffs and

  members of the Texas Class have suffered damages and an ascertainable loss in that they purchased

  the Baby Food Products that were worthless or worth less than the price they paid and that they

  would not have purchased at all had they known of the material risk and/or presence of Heavy

  Metals and/or other toxic ingredients.

         357.     Gerber’s deceptive trade practices caused injury in fact and actual damages to the

  Texas Plaintiffs and members of the Texas Class in the form of the loss or diminishment of value

  of the Baby Food Products that the Texas Plaintiffs and the members of the Texas Class purchased,

  which allowed Gerber to profit at the expense of said purchasers.

         358.     Plaintiff Moore, on behalf of herself and the Texas Class, seeks all available

  monetary relief, including economic damages and reasonable attorneys’ fees and costs, for the



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  injuries they have suffered as a result of Gerber’s unfair and deceptive acts and practices, as

  provided by TDTPA, Tex. Bus. & Com. Code § 17.50(b) and applicable law. All Texas Plaintiffs,

  on behalf of themselves and the Texas Class, seek an order enjoining Gerber’s illegal practices.

                                  THIRTEENTH CAUSE OF ACTION
                             Violations of Virginia’s Consumer Protection Act
                                     Va. Code Ann. § 59.1-196, et seq.
                                  (On Behalf of Plaintiffs and the Class)


         359.    Plaintiffs repeat and reallege the allegations contained in paragraphs 1-169 as

  though fully set forth herein.

         360.    Plaintiffs bring this cause of action individually and on behalf of the Class for

  violations of the Virginia Consumer Protection Act (“VCPA”), Va. Code Ann. § 59.1-196, et seq.

         361.    Gerber, Plaintiffs and the Class are “persons” within the meaning of Va. Code Ann.

  § 59.1-198.

         362.    Gerber is a “supplier” within the meaning of Va. Code Ann. § 59.1-198 and the

  purchases of the Baby Food Products were a “consumer transaction” within the meaning of Va.

  Code Ann. § 59.1-198.

         363.    The VCPA makes unlawful “fraudulent acts or practices.” Va. Code Ann. § 59.1-

  200(A).

         364.    Gerber violated the VCPA, at a minimum, by: “5. Misrepresenting that goods or

  services have certain qualities, characteristics, ingredients, uses, or benefits;” “6. Misrepresenting

  that goods or services are of a particular standard, quality, grade, style or model;” “8. Advertising

  goods or services with intent not to sell them as advertised;” and “14. Using any other deception,

  fraud, false pretense, false promise, or misrepresentation in connection with a consumer

  transaction.” Va. Code Ann. § 59.1-200(A).



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         365.    Gerber violated and continues to violate the foregoing provisions of the VCPA by

  making material omissions of fact with intent to mislead and deceive consumers concerning its

  Baby Food Products. Specifically, as alleged herein, Gerber failed to disclose material facts to

  Plaintiffs and the Class including that: (1) the Gerber Baby Food Products contain or were at

  material risk of containing harmful Heavy Metals; (2) Gerber inadequately tested, or never tested,

  for all Heavy Metals in all the ingredients it uses and/or its finished products; and that (3) when

  Gerber does set internal standards, they allow for the sale of Baby Food Products with Heavy

  Metals in amounts that could cause harm to babies and children and at times, the Baby Food

  Products have failed to meet even those internal standards.

         366.    Gerber’s packaging created the impression that the Baby Food Products are

  nutritious products that are safe for consumption by infants and young children was untrue or

  misleading in light of the foregoing material omissions. Gerber intentionally and knowingly failed

  to disclose material facts regarding its Baby Food Products with intent to mislead Plaintiffs and

  the Class and breached their duty not to do so.

         367.    The facts concealed or not disclosed by Gerber to Plaintiffs and members of the

  Class are material in that a reasonable consumer would have considered them important when

  deciding whether to purchase the Baby Food Products as described hereinabove.

         368.    Gerber knew that its omissions were material information that Plaintiffs and the

  Class would have wanted to know and Gerber intentionally omitted and failed to disclose this

  information to induce Plaintiffs and the Cass to purchase its Baby Food Products.

         369.    Plaintiffs did not know or suspect that: (1) the Gerber Baby Food Products contain

  or were at material risk of containing harmful Heavy Metals; (2) Gerber inadequately tested, or

  never tested, for all Heavy Metals in all the ingredients it uses and/or its finished products; and



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  that (3) when Gerber does set internal standards, they allow for the sale of Baby Food Products

  with Heavy Metals in amounts that could cause harm to babies and children and at times, the Baby

  Food Products have failed to meet even those internal standards.

         370.     Plaintiffs and the Class reasonably relied on Gerber’s material omissions in

  purchasing the Baby Food Products.

         371.     Gerber’s concealment, material omissions, and other deceptive conduct were likely

  to deceive reasonable consumers.

         372.     Gerber’s concealment, material omissions, and other deceptive conduct described

  herein repeatedly occurred in Gerber's trade or business and were capable of deceiving a

  substantial portion of the consuming public.

         373.     Gerber knew of should have known that its conduct violated the VCPA.

         374.     As a direct and proximate result of these violations, Plaintiffs and the Class have

  been harmed, and that harm will continue unless Gerber is enjoined from using the misleading

  marketing described herein in any manner in connection with the advertising and sale of the Baby

  Food Products.

         375.     Gerber’s conduct is ongoing and continuing, such that prospective injunctive relief

  is necessary.

         376.     As a direct and proximate result of Gerber’s conduct, Plaintiffs and members of the

  Class have suffered damages and an ascertainable loss in that they purchased the Baby Food

  Products that were worthless or worth less than the price they paid and that they would not have

  purchased at all had they known of the material risk and/or presence of Heavy Metals and/or other

  toxic ingredients.

         377.     Pursuant to Va. Code Ann. § 59.1-204, Plaintiffs and the Class who suffered a loss



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  as the result of a violation of this chapter are entitled to recover actual damages, or $500, whichever

  is greater, plus reasonable attorneys' fees and costs. Moreover, because the violation was willful,

  it may increase damages to an amount not exceeding three times the actual damages sustained, or

  $1,000, whichever is greater.

                                       PRAYER FOR RELIEF


         WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Nationwide Class

  and State Classes, pray for relief and judgment against Defendant as follows:

         a.      An order declaring this action to be a proper class action, appointing Plaintiffs and

                 their counsel to represent the Class, and requiring Defendant to bear the costs of

                 class notice;

         b.      An order enjoining Defendant from selling the Baby Food Products until the

                 harmful Heavy Metals are removed or reduced to nondetectable levels and/or full

                 disclosure of the presence of such prominently appears on all packaging;

         c.      An order requiring Defendant to establish sourcing and control protocols, consult

                 with an independent auditor, and conduct compliance testing;

         d.      An order enjoining Defendant from selling its Baby Food Products in any manner

                 suggesting or implying that they are healthy, nutritious, and safe for consumption

                 unless Defendant adequately tests for Heavy Metals and ensures that the Heavy

                 Metals are no longer present or reduced to nondetectable levels;

         e.      An order requiring Defendant to engage in a corrective advertising campaign and

                 to engage in any further necessary affirmative injunctive relief, such as recalling

                 existing products;




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        f.    An order awarding declaratory relief, and any further retrospective or prospective

              injunctive relief permitted by law or equity, including enjoining Defendant from

              continuing the unlawful practices alleged herein, and injunctive relief to remedy

              Defendant’s past conduct;

        g.    An order requiring Defendant to pay restitution to restore all funds acquired by

              means of any act or practice declared by this Court to be an unlawful, unfair, or

              fraudulent business act or practice, untrue or misleading advertising, or a violation

              of law, plus pre- and post-judgment interest thereon;

        h.    An order requiring Defendant to disgorge or return all monies, revenues, and profits

              obtained by means of any wrongful or unlawful act or practice;

        i.    Awarding Plaintiffs and the Class compensatory damages, in an amount exceeding

              $5,000,000, to be determined by proof;

        j.    Awarding Plaintiffs and the Class appropriate relief, including actual and statutory

              damages;

        k.    Awarding Plaintiffs and the Class punitive damages, as allowable by law;

        l.    Awarding Plaintiffs and the Class the costs of prosecuting this action, including

              expert witness fees;

        m.    Awarding Plaintiffs and the Class reasonable attorneys’ fees and costs as allowable

              by law;

        n.    Awarding pre-judgment and post-judgment interest; and

        o.    Granting any other relief as this Court may deem just and proper.




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                                    JURY TRIAL DEMANDED


         Plaintiffs hereby demand a trial by jury on all issues so triable.

  Dated: June 3, 2022
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